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                                                           Hearing Date: October 16, 2012
                                                       Objection Deadline: October 4, 2012

  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK


  In re:                                           Chapter 11

  PINNACLE AIRLINES CORP., et al.,                 Case No.: 12-11343 (REG)

                          Debtors.                 (Jointly Administered)
                                               x




      OBJECTION OF AIR LINE PILOTS ASSOCIATION, INTERNATIONAL TO
    DEBTORS' MOTION TO REJECT COLLECTIVE BARGAINING AGREEMENTS
      WITH THE AIR LINE PILOTS ASSOCIATION, INTERNATIONAL AND THE
    ASSOCIATION OF FLIGHT ATTENDANTS-CWA PURSUANT TO 11 U.S.C. X1113




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                  The Air Line Pilots Association, International ("ALPA") objects as follows to the

   September 13, 2012 Motions of Pinnacle Airlines, Inc. ("Pinnacle") to Reject Collective

  Bargaining Agreements with the Air Line Pilots Association, International and the Association

  of Flight Attendants-CWA Pursuant to 11 U.S.C. § 1113 (the "Motion").

                                   PRELIMINARY STATEMENT

                  Pinnacle's Motion to reject its agreement with ALPA should be denied because

  Pinnacle has failed to satisfy the stringent requirements for obtaining such relief under Section

  1113 of the Bankruptcy Code. Rather, Pinnacle seeks to misuse Section 1113 to obtain

  extraordinarily burdensome cost concessions from its ALPA-represented pilots that: (1) are not

  necessary for Pinnacle to emerge from bankruptcy, (2) are the product of bad faith negotiations

  on the part of Pinnacle, (3) are unsupported by relevant information, and (4) if imposed on the

  pilots, would be neither fair nor equitable. The motion should also be denied because ALPA had

  good cause to reject Pinnacle's proposal.

                 At the threshold, the Section 1113 proposal made by Pinnacle replaces a radically

  different proposal that Pinnacle made to ALPA three months earlier, in May of this year.

  Pinnacle, with the full support of its sole customer, Delta Airlines, Inc. ("Delta") represented to

  ALPA, to the Court, and to all relevant constituencies in this proceeding, that its May proposal

  would provide Pinnacle with the relief it needed to successfully emerge from bankruptcy and to

 compete for future business opportunities. At that time — after Pinnacle asked this Court at

 Delta's bidding to assume its newly-revised airline services agreements and provided Delta with

 a business plan premised on those agreements — Pinnacle said it needed $33 million (rounded to

 the nearest million) annually from its pilots. That amount was reflected in the concessions

 Pinnacle asked for in its May proposal.
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                  Then, only six weeks after making that proposal, Pinnacle unilaterally called a

  complete halt to negotiations. Pinnacle advised ALPA that it needed to revise its business plan.

  After an unprecedented eight-week complete hiatus from bargaining, Pinnacle, which now

  insists that time is of the essence, returned to the table with the same fleet plan as before under

  the same airline services agreements — but with an 80% increase in its demands. Pinnacle now

  says it needs $59.6 million annually from the pilot group, equating to a 33% reduction in pilot

  costs. Nothing, however, has occurred between May and August to justify such regressive

  bargaining. Nor has Pinnacle provided ALPA with the relevant information that it would need

  to evaluate Pinnacle's alleged basis for its new "ask."

                  On the other hand, ALPA has offered concessions that meet the demands

  Pinnacle said it needed in May to earn a competitive rate of return and attract new business. In

  short, as we demonstrate, ALPA has bargained in good faith and continues to do so, and its

  proposals for cost-savings confirm that it had good cause to reject Pinnacle's most recent

  proposal. Pinnacle's increased demands are not necessary to its reorganization but constitute

  overreaching.

                  Pinnacle attempts to explain this tectonic shift by pointing to Delta. It claims

 that Delta told Pinnacle in June that contracts this Court authorized Pinnacle to assume in May

 — at Delta's instigation — cost more than the average rate Delta pays other carriers for the same

 lift — REDACTED

                           Pinnacle suggests that despite Delta's ample bargaining leverage as its

 sole customer and financier, somehow it was able to take Delta to the cleaners in the

 negotiations over the revised airline services agreements. Based on the asserted price disparity

 Delta now asserts, Pinnacle substantially increased its labor demands.



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                  Delta set out its pricing claims in a three-page letter dated August 1. But Delta

  did not demand that Pinnacle reduce its rates under the agreements and Delta did not say that it

  would not support a reorganization built around those (now assumed) contracts. Delta did not

  threaten Pinnacle with a loss of flying nor did it promise Pinnacle more flying if it reduces its

  pricing or costs. Delta simply asserted in conclusory fashion that it is paying Pinnacle more for

  lift REDACTED

                                     Not surprisingly, Pinnacle did not change its fleet plan in

  response to Delta's assertions, since there is nothing concrete in what Delta said.

                 Pinnacle nonetheless urges that it is somehow vulnerable under its contracts with

  Delta even though those agreements were assumed (at Delta's insistence) and extended through

  2022. Pinnacle argues that unless it reduces its costs by $34 million, the amount Delta

  identified as a pricing difference, it might lose Delta's work and might fail to gain new Delta

  business. In this connection it perceives a threat in Delta's new pilot labor agreement which

  allows Delta to increase 76-seat flying if it reduces 50-seat flying provided other conditions are

  met. Pinnacle's submission ignores that: (a) Delta negotiated the revised agreements with

  Pinnacle at the same time it was negotiating with its own pilots; (b) the revised agreements

  address the very possibility that Delta would want to replace 50-seat flying with 76-seat flying;

 and (c) salient features of Pinnacle's agreements with Delta, make it economically costly for

 Delta to reduce Pinnacle's 50-seat fleet. All of this provides Pinnacle with leverage to resist

 overreaching by Delta and to gain new flying.

                 The Delta pilot agreement was no "game-changer," as Pinnacle claims. Unlike

 other Delta Connection carriers which operate no 50-seat aircraft and thus cannot help Delta to

 shrink its 50-seat fleet, Pinnacle is a substantial 50-seat operator under contracts that make it



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  costly for Delta to remove the 50-seat flying. The parties contemplated that Delta could reduce

  50-seat lift over the term of the agreement and thus negotiated a swap-out provision. Pinnacle's

  complaint that it enjoys "little protection" under the agreements ignores the reality of the terms

  of those agreements.

                 The unstated premise of Pinnacle's claim — that Delta agreed to overpay for

  Pinnacle's lift in April and only realized this in June — beggars belief. Delta had Pinnacle over

  a barrel on the eve of bankruptcy; a salient fact that was repeated over and over during the course

  of the May 16 hearing to approve assumption of the agreements and debtor-in-possession

  financing. The notion that Delta would have agreed to pay Pinnacle REDACTED

  more for regional lift defies reason.

                 Delta did not provide Pinnacle with any data whatsoever that would verify its

  pricing contentions, citing confidentiality considerations. So, Pinnacle has not been able to —

  and cannot — validate Delta's numbers. On their face, Delta's claims do not form a legitimate

  basis for Pinnacle's demands of ALPA because Delta explicitly excluded any consideration of

  the differing margin payments it makes to its regional partners as part of pricing under these

 agreements and limited its comparison to the year 2012. Because Pinnacle has no risk

 associated with aircraft ownership costs, Pinnacle likely receives smaller margin payments than

 its competitors who own or directly lease their aircraft fleets.

                 Since it does not have access to the pricing information Delta used, Pinnacle

 relies on an analysis of what it believes is a difference in the cost of its 76-seat lift as compared

 with just two of its many competitors, neither of whom provide 50-seat lift to Delta. The new

 selective analysis concerning the costs of 76-seat lift Pinnacle now presents is eyewash.

 Significantly, Pinnacle offers no analysis whatsoever with respect to the pricing differential



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  Delta claimed for 50-seat lift, even though the 50-seat fleet is three times as large as the 76-seat

  fleet and the alleged disparity in 50-seat pricing accounts for almost two-thirds of the increase in

  the demand.

                  The revised August demands are regressive and inconsistent with good faith

  bargaining. The eight-week hiatus from negotiations that Pinnacle unilaterally imposed is also

  inconsistent with its obligation under Section 1113 to make itself available to negotiate.

  Pinnacle now contends that any delay in granting its every wish risks liquidation.

                 From the outset ALPA has recognized that Pinnacle needs significant economic

  concessions to reorganize under the revised Delta agreements. ALPA has offered Pinnacle a

  package of pay, benefit and work rule concessions meeting the amount Pinnacle sought in May

  and which it said at that time was sufficient for it to reorganize and raise capital. As shown

  below, the concessions that have been offered not only make Pinnacle profitable, they offer

  Pinnacle terms that are competitive with pilot labor terms throughout the industry. Under these

  circumstances ALPA has ample good cause to refuse to accede to Pinnacle's bloated demands.

                 This Motion should be denied.

                                     STATEMENT OF FACTS

 Pinnacle

                 Pinnacle is a regional air carrier that is the product of a combination of three

 separate carriers. Pinnacle began operations in 1985 as Express Airlines I and developed into a

 regional jet operator for Northwest Airlines and, following Northwest's merger with Delta, as a

 Delta Connection carrier. In 2007, Pinnacle's parent, Pinnacle Airlines Corp. acquired Colgan

 Air, which operated turbo-prop aircraft and provided lift for United, Continental and US

 Airways. Declaration of Paul Hallin, filed herewith ("Hallin Decl.") ¶ 2.



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                  In July 2010, Pinnacle Airlines Corp. purchased Mesaba Aviation, Inc., from

  Delta. Like Pinnacle, Mesaba provided regional lift to Northwest (and following the merger to

  Delta) and it operated both regional jet and turbo-prop aircraft. Id. In connection with the

  purchase of Mesaba, Pinnacle issued Delta a promissory note; at the time it filed for bankruptcy

  Pinnacle owed Delta $44 million on that note. DIP Motion (Docket 23) ¶ 11.

                 At the time it bought Mesaba, Pinnacle announced that it intended to merge the

  three carriers into two, one that would operate regional jet aircraft and the other focused solely

  on turbo-prop flying. Id. ¶ 3.

  ALPA

                 ALPA is the largest airline pilot union in the world and represents nearly 51,000

  pilots at 35 U.S. and Canadian airlines. ALPA represents pilots employed at regional carriers

  such as Pinnacle, mainline carriers, such as Delta, and cargo and charter operators. ALPA

  represented pilots at pre-merger Pinnacle, Colgan and Mesaba. Declaration of Marcia Eubanks

  ¶ 2.

                ALPA represents pilot groups through a coordinating council known as a Master

  Executive Council ("MEC"). The MEC of an airline is composed of representatives elected by

  the ALPA membership at each pilot base (or domicile) of the particular carrier. The MEC

 members elect officers of the MEC, a Chairman, Vice Chairman and Secretary-Treasurer.

 Captain Thomas E. Wychor serves as the Chairman of the Pinnacle Master Executive Council.

 He has formerly served as Executive Vice President of ALPA and a member of ALPA's

 Executive Council. In addition to contact through MEC officers and members, ALPA interacts

 with management through the activities of various MEC committees. These include not only a

 Negotiating Committee responsible for the conduct of collective bargaining with the Company,

 but also committees whose activities encompass the universe of pilot working conditions and

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  mirror the structure of the agreement. Captain Paul Hallin serves as the Chairman of the

  Pinnacle MEC'S Negotiating Committee. Declaration of Thomas E. Wychorl- 3; Hallin Decl.

  1.

  The JCBA

                  Following the Mesaba acquisition, ALPA entered into negotiations with the

  company in the fall of 2010 for the purpose of negotiating a single collective bargaining

  agreement covering all three carriers. The parties engaged in expedited bargaining and reached a

  tentative agreement in December of that year (the joint collective bargaining agreement or the

  "JCBA"),I The JCBA became effective February 18. 2011, and becomes amendable, pursuant

  to the Railway Labor Act, 45 U.S.C. §§ 151 et seq., as of February 18, 2016. Hallin Decl..i 4.

                  Following the negotiation of the JCBA, the pilot groups began the process of

  integrating the separate seniority lists of the three carriers into a single integrated list. As a

  general matter, relative seniority governs in the assignment of work under the JCBA: vacancies

  are awarded in order of seniority and reductions are awarded in inverse order of seniority. When

  it negotiated the JCBA, management did not demand "fences," i.e., limits on the ability of pilots

 to bid to or be awarded positions across the combined airline system until the companies were

 operationally merged. Rather under the JCBA once an integrated seniority list was either agreed

 to or determined in arbitration, pilots would be free to move to positions across the entire

 combined airline system subject only to whatever limits might be imposed with the integrated

 list. All things being equal, fence provisions would reduce the excess training that would be

 expected with an integration of pilot groups under a single contract and single seniority list. Id. ¶

 5.


       The JCBA is Exhibit 54 to the Declaration of Jerrold A. Glass.

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                  When the pilot groups could not agree on an integration methodology, the

  seniority issue was arbitrated before Richard Bloch. On May 19, 2011, before Arbitrator Bloch

  issued an award, the MEC Chairmen of the three carriers wrote to the airline's chief operating

  officer proposing a meeting once the award issued to discuss questions that would arise

  concerning the scheduling and filling of vacancies provisions of the agreement. The MEC

  chairmen proposed a meeting in early June after the award was issued. Pinnacle management

  demurred. Id. ¶ 6.

  Operational Integration and the Bloch Award

                 Arbitrator Bloch issued an award establishing the integrated seniority list on June

  16, 2011 (the "Bloch Award"). The Bloch Award contained only a few conditions and

  restrictions.2 Upon the implementation of the Bloch Award, the work assignment provisions of

  the JCBA became applicable to Pinnacle's operations and pilots became able to freely transfer

  to positions across the combined system consistent with the arbitrator's decision. This caused a

  significant increase in pilot training costs, because Pinnacle had not implemented common

  operating standards or procedures for the common fleet types it operated. Id. 7.

                 While the pre-merger carriers operated common aircraft types (the CRJ-200, CRJ-

  900 and Saab 340s) management had not (and still has not) implemented a common set of

  operating standards or procedures for those aircraft. That is management's sole responsibility,

  not ALPA's. One part of the process of merging airlines is combining their operations on a



     2
      Of relevance here, the arbitrator imposed limits on the ability of pilots to be displaced to
 captains' positions on the CRJ-200 and CRJ-900 aircraft. For example, no pre-merger Pinnacle
 or Colgan pilot may be awarded or displaced to a CRJ-900 captain position unless Mesaba pilots
 maintain a set number of CRJ-900 captain positions, and no pre-merger Mesaba or Colgan pilot
 may be awarded or displaced to a CRJ-900 captain position unless Pinnacle pilots maintain a set
 number of CRJ-900 captain positions.

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  single operating certificate issued by the Federal Aviation Administration ("FAA").3 Until there

   is a single set of FAA-approved operating procedures and pilots have been trained on those

  common procedures, pilots who move between the operations of the pre-merger carriers even on

  the same aircraft must be trained as though they had never operated that aircraft before. For

  example, a legacy Mesaba CRJ-900 Captain who was awarded a voluntary bid to fly the CRJ-

  900 as a Captain in Atlanta, where that aircraft is operated under legacy Pinnacle procedures,

  would be required to undergo a full initial transition training event (or approximately eight weeks

  of training) in order to operate the CRJ-900 there. If there were a single operating certificate, no

  training would be required for the pilot in the example to change domiciles. Because there were

  no limits on pilot position awards (other than those imposed in the Bloch Award with respect to

  the minimum number of Captain positions to which each legacy pilot group was entitled based

  on the equipment operated at the time of the merger), and because the combined operation was

  shrinking due to the elimination of turbo-prop flying beginning in 2011, Pinnacle's pilot training

  costs ballooned. Id. ¶J 8-9.

                 Holding all else equal, increased pilot training requirements dramatically increase

  the relative unit costs (also known as block hour costs) of pilot labor. That is because pilots are

  paid while they train and do not perform revenue flying and because the airline must carry

 additional pilots on the payroll to cover for those pilots who are being trained. As a result,

 Pinnacle's pilot labor costs — measured either by the cost of each block hour of pilot time or by

 the number of block hours flown per pilot per month — rose in 2011. As CEO John Spanjers


     3 While airlines may operate the same types of aircraft, the particular procedures and
 operating philosophy it instructs its pilots to follow on those aircraft may be quite different.
 These differences can be found in all segments of the flight process, from ground operations
 prior to flight, to take-off and flight at cruising altitude, through descent and landing to taxiing to
 flight termination at the gate.


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  noted at the outset of this case: "The lack of meaningful [integrated seniority list] fences,

  integration delays and flying downsizing have resulted in substantial additional training costs and

  decreased productivity." Declaration of John Spanjers Decl. (Docket 3) ¶ 25.

                 In 2011 after Arbitrator Bloch issued his award, ALPA and Pinnacle entered into

  negotiations to address the pilot training bubble. In particular, Pinnacle posted a notice (11-09)

  that contemplated substantial retraining of pilots occasioned by reduction of Saab 340 flying for

  Delta. This flying had been performed by pre-merger Mesaba pilots and many of the Saab

  captains who would be displaced were relatively senior on the combined list and would be

  expected to bump into higher paying positions creating a cascade of training events as more

  junior pilots were reassigned. Hallin Dec1.1110.

                 ALPA volunteered to negotiate relief from certain provisions of Section 24 of the

  JCBA entitled "Filling of Vacancies" to lessen the expected training demands by eliminating

  intermediate training steps for pilots facing displacement. Pinnacle and ALPA reached

  agreement on a letter of agreement ("LOA 21") that provided Pinnacle with substantial relief.

 Pinnacle noted that absent LOA 21 it faced in excess of 900 training events associated with 11-

 09 between November 2011 and May 2012; with the relief training was limited to 583 events and

 Pinnacle reported that it saved $6.2 million. Hallin Decl. ([ 11.

 Pinnacle Seeks an Out of Court Restructuring

                In the summer of 2011, Pinnacle retained new senior management and began to

 reevaluate its existing contractual relationships. As Spanjers related, management determined

 that none of Pinnacle's Saab flying for US Airways was profitable and neither was its Q400

 flying for United-Continental. The existing CRJ-200 and CRJ-900 agreements with Delta "were

 deemed potentially viable, but not without the benefit of contractual rate increases, scheduled to

 be introduced over the course of 2012-13[.]" Spanjers Dec1.1127.

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                 In November 2011, Pinnacle announced that it intended to restructure its business

  outside of bankruptcy. Following a presentation by Pinnacle management to the MEC in

  December, the parties entered concessionary bargaining, a process that ended in February 2012,

  as reviewed herein, without an agreement. Hallin Decl. ¶ 12.

                 In late December 2011 and early January 2012, the parties made substantial

  progress toward an agreement. The provisions that governed the filling of vacancies and thus

  training costs were tentatively amended to provide substantial cost savings. In addition, the

  parties were able to agree to a 5% wage reduction, that would gradually be recovered over the

  term of the JCBA. REDACTED




                                             Attempts to reach agreement on language ALPA felt

  was necessary to retain value for any, concessions made in advance of bankruptcy were not

  successful, further corroborating ALPA's belief that bankruptcy was a foregone conclusion. Id.

  ¶ 14.

                After Delta put Pinnacle on notice that it would not support an out-of-court

  restructuring and that any restructuring would have to take place under Chapter 11, Pinnacle and

 Delta reached agreement on revised and extended airline services agreements for CRJ-200 and

 CRJ-900 flying through 2022, an early termination of the separate agreement for CRJ-900 flying

 that pre-merger Pinnacle had performed, and a super-priority debtor-in-possession financing

 agreement with Delta that would finance the bankruptcy and convert to an exit facility.
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   Pinnacle also reached agreements to terminate its turbo-prop flying for United-Continental and

  US Airways. Id. ¶ 15.

                                                                                              REDACTED
                  Specifically, the revised airline services agreements with Delta included




  The Filing, the DIP Financing Agreement
  and Revised Airline Services Agreements

                 On April 1, 2012, Pinnacle filed for bankruptcy protection in this Court. The

  next day, Pinnacle filed a motion to approve its various agreements reached with Delta: the DIP

  financing, the revised airline services agreements and an accompanying set-off and mutual

  release agreement concerning claims of Pinnacle and Delta under the predecessor agreements.



     4 Delta CFO Edward Bastian told investors in the third quarter of 2007 that "[t]he only
 capacity growth we've got going on in domestic is the up-gauging of regionals from 50-seat to
 76-seaters, as we're getting rid of those 50-seaters." In the first quarter of 2008, he told investors
 that "[s]maller regional aircraft are not efficient to operate in current fuel levels and so we are
 now targeting to remove the equivalent of 100 regional aircraft from the system by the end of the
 year through a combination of lease returns, decreased utilization and changes in contractual
 arrangements." See also "Airlines Cut Small Jets as Fuel Prices Soar," USA Today, November
 28, 2011 ("Delta is moving away from small jets more aggressively than other airlines. It will
 eliminate 121 50-seat jets from October 2008 through the end of next year [2012]. That will
 leave it with 324.") (cited in Kasper Decl. ¶ 49 fn. 69).


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  (Subsequently Pinnacle filed a motion to reject its agreement with United-Continental). Delta

  conditioned the financing upon the immediate assumption of the revised airline services

  agreements and the set-off and mutual release agreement. DIP Motion at TT 1, 34, 66. Under the

  DIP financing agreement Delta made a total of approximately $74 million available to Pinnacle

  of which $44 million was used to pay off the Mesaba acquisition note.

                 The DIP Facility also included specified "Milestones" which set dates tied to

  certain case developments. DIP Facility, Section 5.10, Appx. F ("Milestones"). The Milestones

  include deadlines for Pinnacle to deliver a business plan to Delta and to file a Plan of

  Reorganization and Disclosure Statement "that are reasonably acceptable" to Delta. They also

  include dates for Pinnacle to initiate and prosecute proceedings under Section 1113 of the Code,

  11 U.S.C. §1113. Any settlement of such a motion shall also be "reasonably acceptable to

  [Delta]." Id. Appx. F §II.6.

  Development of a Business Plan and Associated Labor Demands

                 Pinnacle represented that the applicable Milestones were achievable and that

  Pinnacle had "prepared a preliminary 6-year business plan with guidance from [Delta]" and had

 "conducted the necessary analyses and begun preparing proposals" to present to ALPA and the

 other unions. DIP Motion ¶ 39. It also contended that absent the DIP financing it would run out

 of cash in June 2012 and that there were no alternative sources of funding. DIP Motion ¶¶ 16,

 26-27.

                With respect to the amended airline services agreements, Pinnacle stated that they

 were central to its reorganization. As Pinnacle explained:

                        the Debtors' entire business plan and reorganization depend on the
                        Amended DCAs. The Amended DCAs have the potential to be
                        profitable for the Debtors provided the Debtors can achieve certain
                        targeted cost reductions. If the Amended DCAs are assumed, the
                        Debtors will have access to the DIP Facility financing that they

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                         need to operate their business and the Exit Note to fund emergence
                         from chapter 11, assuming other conditions are satisfied.

  DIP Motion ¶ 67.

                 The amended agreements thus presupposed that Pinnacle would obtain labor

  contract concessions from ALPA and its other labor groups. As Pinnacle's CEO testified, the

  level of concessions had already been analyzed by the Company in conjunction with Delta in

  light of the overall market for regional flying:

                         Q.      And in fact, the contracts — the now amended contracts that
                         you have with Delta, you can correlate from those contracts how
                         much cost savings you have to achieve in order for you to be
                         profitable under those contracts, right?

                         A.     Yes, we do, and that is based on the negotiation that we had
                         with Delta and what was outlined earlier relative to the company
                         doing a significant amount of analysis relative to our contracts
                         and what market contracts are relative to compete in the regional
                         business.

                         Q.     Well, do you have an expectation as to how much the
                         debtors have to get, by way of concessions from labor, in order to
                         meet the requirement under the DIP, the cost-saving requirement?

                        A.      Relative to what we need to do, there was a number relative
                        to the global cost that we needed to get, which was approximately
                        seventy million dollars. Of that, labor makes up about forty-two
                        million dollars. And there is components in the — when I go back
                        to the seventy million dollars, is that as we shrink the airline there
                        will be overhead structure, meaning management professionals,
                        that will shrink, but that is not concessionary in nature.

                        Q.     Mr. Menke, what you need to do with labor in this case is
                        already baked, isn't it? You know what you have to get out of
                        them, don't you?

                        A. We're aware of the concession level we are seeking relative to
                        the marketplace, yes, sir.

 DIP Hearing Tr. at 137-38 (emphasis added).




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  Court Approval of the DIP Financing and
  Assumption of the Revised Airline Services Agreements

                  The Unsecured Creditors Committee, of which ALPA is a member, supported the

  DIP Motion. Docket No. 308. After a hearing, the Court approved the Motion. The Court

  found that absent the financing Pinnacle would run out of money and that there was no

  alternative to Delta's proposal. DIP Hearing Tr. at 177. With respect to the assumed airline

  services agreements the Court found that there was "an imbalance in bargaining power" but that

  "under the circumstances, the debtors did pretty well." DIP Hearing Tr. at 179 (emphasis

  added).

  The May Business Plan and Labor Demands

                  On May 8, Pinnacle management gave ALPA and the other labor groups a

  business plan presentation and a set of demands for contract concessions. This six-year business

  plan assumed the fleet covered by the two airline services agreements with Delta: 140 CRJ-200

  aircraft and 41 CRJ-900 aircraft. Pinnacle's plan called for $71.4 million in expense reductions

  on an annual basis of which $42.6 million was sought from labor. Pinnacle described its labor

  demands as "grounded in market realities," pointing to wide-spread restructuring in the industry.

  In particular, Pinnacle pointed to three goals of its plan: the ability to retain Delta flying, to

  attract an equity investor and to "grow the business beyond the existing contracts," all of which

  would be served by the $42.6 million labor ask. Hallin Decl. 1117.

                 The remaining $28.7 million of the $71.4 million target was taken from the

  following sources:

                       •   $13.5 million is corporate headcount reduction including pre-bankruptcy
                           reductions;
                       •   $6.4 million in foregone pay increase for management and salaried
                           employees;
                       •   $4.1 million in savings in materials costs;


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                      •   $1.9 million in real estate savings; and
                      •   $2.9 million in miscellaneous savings. Id. ¶ 18.

                  Management presented no benchmarking analysis of its executive or managerial

  compensation structure or any other benchmark analysis to substantiate the disparate ask of the

  pilots in particular. Id. ¶ 19.

                  The May business plan projected an operating margin of REDACTED




                 Of the $42.6 million total labor ask, Pinnacle sought approximately $32.2 million

  from the pilots in revisions to pay, work rules and benefits, a reduction in total annual pilot costs

 of 18.3%. Hallin Decl. ¶ 21.

 Negotiations Through June 22

                 After receiving Pinnacle's demands, ALPA began the preliminary work of

 reviewing how the airline valued each of its proposals. The costing of bargaining proposals is

 complicated. Depending on the issue being costed, consideration must be given to the fact that

 numerous factors are interrelated, including the number of pilots required, their seniority, their

 compensation, their pay hours, the number retiring or attriting from the airline, the potential


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  movement of pilots between aircraft and seats (i.e., from first officer or co-pilot to captain or

  vice versa), staffing and costs related to training, sick time and vacation time, the level of flying

  and fleet projections from the Company, taxes, benefits and pensions, and the duration of the

  contract. Eubanks Decl. ¶ 13.

                 Additionally, once all of the proposals are costed individually, the combined

  effect must be analyzed to determine any overlap, or interaction, between the proposals.

  Because some contract modifications, especially those involving staffing or work rules, take time

  to fully implement, their costs (or savings) are not immediately experienced. Most costing is

  undertaken in terms of a steady state analysis, an estimate that determines the value of a

  modification assuming that the necessary time to fully implement it has passed. Id. ¶ 14.

                 Before ALPA could fully respond to the airline's demands, it sought to gain an

  understanding and agreement as to the value of each of the proposals, so that any counter-

  proposal could be evaluated as against Pinnacle's $32.3 million ask. In addition, ALPA urged

  Pinnacle to consider a letter of agreement, parallel to LOA 21, concerning pilot training costs

  that would be associated with the projected upcoming displacement of the remaining turbo-prop

  pilots. ALPA first began these discussions with management in early June. Hallin Dec1.1122.

  June 22 Negotiating Hiatus

                 On May 21, 2012, the Delta MEC of ALPA announced that it had approved for

  membership ratification a tentative agreement with Delta on the terms of a new collective

  bargaining agreement. Included in that tentative agreement were modifications to Section 1, the

 scope clause of the Delta-ALPA agreement. As a general matter the scope clause of the

 agreement reserves to Delta pilots all flying by or for Delta, including under the Delta brand,

 with certain specified exceptions. Included among the exceptions are flying performed by Delta

 Connection carriers on regional jet aircraft. Among other things, the scope clause contains limits

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  on both the gauge (size) of aircraft that could be operated by such carriers for Delta as well as

  the number of such aircraft that could be so operated. Under the May 2012 tentative agreement.

  ALPA agreed to permit Delta Connection carriers as a group to increase the number of 76-seat

  regional jet aircraft they could otherwise operate; but this increase in permitted 76-seat aircraft is

  in part linked to a decrease in the number 50-seat regional jet aircraft the Delta Connection

  carriers operate and the acquisition by Delta of certain new smaller narrowbody mainline

  aircraft. Id. ¶ 23.

                  In particular, if Delta establishes a fleet of new small narrowbody aircraft

  (defined as either a Boeing B-717 aircraft or Airbus A-319 aircraft not in Delta's fleet as of July

  1, 2012), the number of 76-seat aircraft may increase (above the otherwise 153 permitted number

  of such aircraft) on the basis of one 76-seat aircraft for one and one quarter new small

  narrowbody aircraft added (a 1:1.25 ratio) up to a total of 223 76-seat aircraft. In addition, if

  Delta's regional partners are operating more than 153 76-seat aircraft, then beginning on January

  1, 2014, and each succeeding January 1 thereafter, Delta must meet a prescribed ratio for

  reducing the number of 50-seat aircraft in regional operations (below the present combined fleet

  size of 348) for each 76-seat aircraft above 153 added. In short, the required reduction of the 50-

  seat fleet is linked to an increase in the number of 76-seat aircraft at Delta Connection carriers

  (above 153 such aircraft) which is in turn contingent upon the introduction of the new small

  narrow body aircraft to Delta's mainline fleet. Hallin Decl. Ex. E.

                 Delta's plan and agreement to reduce 50-seat flying by its Connection partners

 was no surprise to industry observers. As Pinnacle's expert Kasper points out, mainline carriers

 have been reducing the number of block hours flown by 50-seat lift and smaller aircraft for

 several years before 2012. Declaration of Daniel Kasper ¶ 51 ("the use of 50-seat and smaller



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  RJs by the large network carriers has greatly diminished and is expected to decline even further

  in the future"). Delta was ahead of this industry trend and made its intentions known for many

  years before 2012.5

                 Then on June 22, 2012, without notice and taking ALPA completely by surprise,

  Pinnacle announced that it was suspending negotiations. In a letter to all employees

  (immediately filed with the SEC), CEO John Spanjers pointed to the Delta-ALPA tentative

  agreement and its potential effect on Pinnacle's fleet. He stated:

                         [T]here have been new developments since we presented our
                         unions with those term sheets that require us to pause our
                         discussions while we reformulate our business plan.

                         As many of you know, Delta recently reached a tentative
                         agreement with ALPA that includes a provision that could require
                         a significant reduction in the number of 50-seat (CRJ-200 and
                         ERJ-145) aircraft in Delta's network ... The same agreement
                         allows Delta to expand its 2-class 76-seat regional jets by 70
                         aircraft as it adds additional mainline aircraft to its fleet. As you
                         can see, this agreement — if ratified by Delta pilots — presents both
                         a challenge and an opportunity for this organization. Clearly our
                         business plan will need to be reformulated in response.


     5
       Delta CFO Edward Bastian told investors in the third quarter of 2007 that "[t]he only
 capacity growth we've got going on in domestic is the up-gauging of regionals from 50-seat to
  76-seaters, as we're getting rid of those 50-seaters." In the first quarter of 2008, he told investors
 that "[s]maller regional aircraft are not efficient to operate in current fuel levels and so we are
 now targeting to remove the equivalent of 100 regional aircraft from the system by the end of the
 year through a combination of lease returns, decreased utilization and changes in contractual
 arrangements." The drumbeat continued. As reported in the First Quarter 2011 edition of
 Regional Horizons (a publication of the Regional Airline Association) at page 11, "Ed Bastian,
 President of Delta Air Lines ... [said at airline conference] Delta will be grounding 86 regional
 aircraft over the next 12-18 months. They include 26 Saab 340s, acquired in the merger with
 Northwest Airlines, and 60 50-seat regional jets, primarily Bombardier CRJ-I 00s. Even though
 the latter have low ownership costs, he says, they are the least fuel efficient of their regional
 planes and are expensive to operate. Overall, Delta's regional fleet will decline to 600 by year
 end, compared with 693 at the end of 2007." See also "Airlines Cut Small Jets as Fuel Prices
 Soar," USA Today, November 28, 2011 ("Delta is moving away from small jets more
 aggressively than other airlines. It will eliminate 121 50-seat jets from October 2008 through the
 end of next year [2012]. That will leave it with 324.") (cited in Kasper Deci. ¶ 49 fn. 69).


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                        In a nutshell, Delta told us that the bids they've received from
                        other regional carriers on 2-class flying were significantly below
                        what they pay for Pinnacle's CRJ-900 flying. It's clear that we
                        are competing with carriers that have significant cost and pilot
                        seniority advantages over Pinnacle.

                        Ultimately, as we look toward the future we must envision a
                        Pinnacle fleet with far fewer CRJ-200 aircraft. And if we hope to
                        replace those losses with more 76-seat aircraft, we must reduce our
                        cost structure even more than originally planned in order to be
                        competitive.

  Hallin Decl. Exh. F (emphasis supplied).

                 In meetings with ALPA on the afternoon of June 22, management stated that the

  Delta-ALPA tentative agreement required a revision of its business plan and that it would not

  continue discussions based on the proposals it just made, since those proposals were based on the

  May business plan. Following this announcement, Pinnacle refused to continue discussions

  concerning its May proposals. ALPA was not consulted and did not agree to this adjournment.

  Although ALPA and Pinnacle continued to discuss certain costing issues and training relief in

  connection with Pinnacle's planned reduction in flying, progress in the negotiations was halted

  with management's decision to suspend them. Initially, Pinnacle said that a revised business

  plan would be presented in three weeks. As mid-July approached, Pinnacle advised that the plan

 would be further delayed on a weekly basis. Bargaining finally resumed in mid-August. Hallin

 Decl. ¶ 26.

 August 16 Revised Demands

                On August 16, 2012, Pinnacle sent ALPA what it described as a revised business

 plan and revised economic demands. Id. ¶ 27.

                Pinnacle's revised business plan covered the same six-year period as the May

 plan. Notwithstanding its suspension of talks with ALPA based on the notion that Delta would

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  reduce 50-seat flying and increase 76-seat flying, Pinnacle now assumed the same fleet plan as

  the May plan (i.e., 140 CRJ-200 aircraft and 41 CRJ-900 aircraft) with the same revenue

  assumptions until 2018. The only difference is that Pinnacle revised modeling of the reset of

  rates that would occur in 2018. Id.

                 Pinnacle increased the demands on labor from $42.6 million to $76.4 — an

  increase of 80%. No additional savings were sought in any other areas.

                 Pinnacle's demands include:

                    •   Cuts in hourly pay rates generally that would place Pinnacle at the bottom
                        of the regional industry

                    •   Wage restructuring under which upgrading pilots would be reset to the
                        first "step" of the Captain longevity pay scale, regardless of prior service

                    •   Reducing days off for reserve pilots to 10 days per bid period

                    •   Elimination of the current health care plans and replacing them with a
                        health care reimbursement (HRA) plan. Pinnacle would become the first
                        and only carrier in the industry to offer only an HRA plan to its pilots.

                    •   Reduction of "deadhead" pay and credit

                    •   Elimination of one week of vacation accrual for each pilot, except first-
                        year pilots

                    •   Reductions in cancellation pay. Id. ¶ 29.

  Pinnacle's Justification for Its Increased Demands

                Pinnacle explained that its incremental ask was based on Delta's assertion that

 Pinnacle's pricing for 50-seat and 76-seat lift was higher REDACTED




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  REDACTED

                                     Pinnacle increased its economic demands to $76.4 million. Of

  that total, Pinnacle seeks $59.6 million from the pilots. Id. ¶ 30.

                  In this regard, Pinnacle relied almost exclusively on a letter dated August 1, 2012

  from Donald Bornhorst of Vice President of Delta's Connection operation. Cude Decl. Ex. A.

  Bornhorst's letter states that "Pinnacle ... has requested that Delta ... disclose to it ... Delta's

  average costs incurred for regional air transportation services provided to Delta by regional

  carriers operating as Delta Connection carriers under a capacity purchase agreement with

  Delta." Id. at 1. In particular, Bornhorst stated that Delta:

                         compared the estimated 2012 base rate amounts payable by Delta
                         under its agreements with Pinnacle for both 50-seat jet aircraft and
                         76-seat jet aircraft with the average estimated base rate amounts
                         payable by Delta in 2012 under Delta Connection Agreements
                         with all other operators of similar gauge aircraft (the "DC
                         Average"). Applying the methodology described below, and using
                         Pinnacle's forecasted 2012 utilization levels, Delta has determined
                         that the estimated base rate amounts payable by Delta to Pinnacle
                         for 50-seat lift in 2012 will be REDACTED




  Id. at 2. No mention was made of any bids that had been received from other regional carriers.

                 Delta indicated that in computing the "DC Average" it excluded Pinnacle,

 Mesaba and its Comair subsidiary from the computation. It also noted that it had excluded

 margin payments from the calculation of "base rates" because those reflected whether the

 contractor assumed aircraft ownership costs or not. Thus, the comparison did not reflect the total

 price Delta paid for such lift. Bornhorst asserted that Pinnacle was paid margins "equal to or

 greater than the average margin amount per aircraft payable by Delta to other Delta Connection

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  carriers with respect to dual class aircraft placed by Delta during the past three (3) years where

  the carrier did not assume the ownership risk for the aircraft."

                  Bornhorst noted that Delta's computation was for 2012 only and that these

  comparators were subject to change "due to rate adjustments, rate resets and preferred customer

  provisions contemplated under the applicable Delta Connection Agreements." Finally, Delta

  stated that "the information contained in this letter is the entirety of the information about the

  costs of lift under Delta Connection Agreements other than Pinnacle's that Delta is comfortable

  providing to Pinnacle and/or the other parties to the Stipulated Protective Orders."

                 ALPA requested in negotiations that Pinnacle provide information to clarify or

  assess the claims in the letter. In particular, ALPA asked for:

                     •     Components making up the "base rate" for each carrier included in the
                           analysis;

                     •     An explanation of how future years' costs differ from the 2012 "base
                           rates" for each carrier included in the analysis;

                     •     Whether the analysis (which included Delta Connection carrier Skywest)
                           was based on the terms of the Delta-Skywest agreement in effect as of
                           August 1 or whether they reflected revisions to those agreements that were
                           announced on August 2, 2012;
                     REDACTED




                    •     The specific bids referenced in Spanjers' statement to Pinnacle employees
                          on June 22.

 With respect to each such request Pinnacle advised that the information could not be obtained

 because it was confidential. Hallin Decl. Exh. G.


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                 Together with its revised demands, Pinnacle presented analyses that it claimed

  validated Delta's claims with respect to 76-seat lift only. The company provided no pricing

  analysis, however. Pinnacle's consultant Seabury analyzed what it would cost per aircraft for

  just two of the seven Delta Connection carriers, Compass and GoJets, to provide 70-seat or 76-

  seat lift under their labor agreements, as opposed to what the costs would be under Pinnacle's

  agreements as they would be modified under the May contract demands. Pinnacle consultant

  Compass/Lexecon presented a similar analysis for 76-seat flying based on publicly filed Form 41

  data.6 While two-thirds of the increased ask are attributable to an asserted difference in 50-seat

  flying, Pinnacle presented no analysis concerning that issue. Eubanks Decl. ¶ 37.

  Negotiations Since August 22

                 As Pinnacle's planned flying has continued to be reduced with the elimination of

  legacy Colgan's turboprop fleet, Pinnacle has posted a realignment notice (12-04) which, like

  11-09, will result in significant training costs. On August 23 the Negotiating Committee reached

  a tentative agreement with management on relief related to 12-04 contingent on an agreement on

  the value to be assigned to that agreement as a credit against Pinnacle's economic demands. On

  August 28, 2012, the MEC ratified this tentative letter of agreement contingent on an agreement

 on the costing. Hallin Decl. TIT 32-33.

                ALPA and Pinnacle disagreed over how much Pinnacle would save from the

 training relief ALPA proposed in connection with 12-04. ALPA insisted that any relief it

 offered be credited against Pinnacle's demands for the first year of the agreement. ALPA had

     6 The Compass/Lexecon analysis focused on Pinnacle's 2011 unit pilot labor costs but made
 no adjustment for the out of the ordinary training experience Pinnacle had in 2011 due to the
 integration of the pilot groups and the reduction in flying. In addition, Compass/Lexecon made
 certain assumptions concerning the return of the Atlanta-based CRJ-900 fleet and how that
 would affect pilot longevity, assumptions that ignore the effect of the Bloch Award on
 assignments to the CRJ-900. See Eubanks Decl. ¶ 38.

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  also asked that Pinnacle credit the $6.2 million in training savings attributable to LOA 21 to the

  first year of the ask as Pinnacle credited reductions in management head count in 2011 towards

  its overall savings target. Notwithstanding Pinnacle's refusal to credit any of the LOA 21

  savings, ALPA continued to offer training relief in connection with 12-04 if Pinnacle agreed to

  value that concession at $5 million. Pinnacle refused, offering only $3.5 million in credit. Id. ¶

  34.

                 Since Pinnacle returned to bargaining in late August, ALPA has made three

  comprehensive counter-proposals, on August 30, September 12 and (after Pinnacle filed this

  Motion) on October 1, 2012. Id. ¶ 35. ALPA's costing analysis demonstrates that ALPA has

  met the amount of annualized savings Pinnacle was seeking in its May 2012 proposal, i.e.,

  approximately $33,000,000. Eubanks Decl., Exit. A. As set forth above, Pinnacle's May

  proposal was made by Pinnacle in accordance with what its business plan and with what it

  represented to ALPA was what was needed in order for the airline to emerge from bankruptcy in

  a competitive position.

                 ALPA has proposed average annual pay rate savings in the amount of

  $6,050,500, recurrent schedule credits in the average annual amount of $2,862,908, reduced

  instructor costs in the average annual amount of $1,250,784, and block-based bid period changes

  in the average annual amount of $5,401,100. Declarations of Jeff Sorensen and Marcia Eubanks.

                The costing analysis reflects that ALPA's most recent proposal generates savings

 in 2013 in the amount of approximately $25,537,353 plus additional one-time savings in the

 amount of $14,583,579, and additional unknown one-time savings for pilot attrition credit.

 ALPA's proposal would generate savings in 2014 in the amount of $28,301,604. Excluding the

 one-time savings that have or will be recouped by Pinnacle, the average annual savings during



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  the proposed two-year agreement would be $26,919,479. Inclusion of the one-time savings

  results as first-year savings results in average annualized savings under ALPA's proposal in the

  amount of more than $34,000,000. Id.

                 Notably, after the expiration of the two- year period during which ALPA's

  proposal would remain in effect, virtually all of the same concessions would continue to apply to

  the pilots until such time as ALPA and Pinnacle agreed to the terms and conditions of a new

  collective bargaining agreement. The few exceptions would be the one-time savings, the

  uniform allowance forfeiture of $498,927,which is only proposed for the first year, and the

  possibility of a proposed 3% pay rate increase one year after the amendable date if no new

  agreement has been reached prior to that time. In short, virtually all of the savings proposed by

  ALPA will be built into years subsequent to 2014 unless and until the parties agree to new terms

  and conditions. Eubanks. Decl. ¶ 19

                 ALPA continues to negotiate in good faith with the goal of reaching a consensual

  resolution. The parties have agreed to participate in mediation, and both sides have met and

  conferred with the mediator. Given continued negotiations, there may be further developments

  prior to the first day of hearing scheduled for October 16, 2012.

 ALPA's Reasons for Rejecting the Company's Revised Demands

                 As noted above, recognizing that labor costs need to be reduced, ALPA has

 proposed economic concessions in its October 1 Proposal that equate to over $34,000,000 on a

 steady state annualized basis over the two years of the proposed agreement.

                 ALPA has refused to accede to the Company's regressive demands for two

 principal reasons: they have not been justified as necessary for Pinnacle to reorganize and they

 would cause substantial hardship to many pilots. See Wychor Dec1.11- 17-33.



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                                              ARGUMENT

                                   PINNACLE HAS NOT MET
                          THE STRICT REQUIREMENTS OF SECTION 1113

                    Congress enacted Section 1113 after the Supreme Court decided in NLRB v.

  Bildisco & Bildisco,7 that a debtor could reject a collective bargaining agreement by showing no

  more than that it burdened the estate and that the balance of the equities favored rejection. The

  permissive Bildisco standard allowed debtors to employ Chapter 11 opportunistically to breach

  their obligations to their employees and created concern that employers were "using bankruptcy

  law as an offensive weapon in labor relations." Adventure Res., Inc. v. Holland, 137 F.3d 786,

  797-98 (4th Cir. 1998); accord In re Roth Am., Inc., 975 F.2d 949, 956 (3d Cir. 1992); see

  generally Wheeling-Pittsburgh Steel Corp. v. United Steelworkers of Am., 791 F.2d 1074, 1089

  (3d Cir. 1986).

                    Congress found that Bildisco created a "new and dangerous imbalance in the

  collective bargaining process," 130 Cong. Rec. H1831 (daily ed. March 21, 1984), and enacted a

  stricter set of requirements for rejection of collective bargaining agreements in Section 1113,

  which requires that a debtor satisfy several onerous conditions before a bankruptcy court will

  grant it leave to abandon its bargained-for obligations to its employees. In re Ionosphere Clubs,

  Inc., 922 F.2d 984, 989 (2d Cir. 1990). The intent of Section 1113's safeguards was to restore

  the balance of bargaining power in bankruptcy and to ensure that employers did not use Chapter

  11 proceedings as a "judicial hammer to break the union." In re Maxwell Newspapers, Inc., 981

  F.2d 85, 89 (2d Cir. 1992).

                  Thus, to obtain an order authorizing it to reject a collective bargaining agreement

  under Section 1113, a debtor must establish that its demands include only those modifications to

     7   465 U.S. 513, 526 (1984).

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  the agreement that are "necessary to permit the reorganization of the debtor" and also ensure "all

  creditors, the debtor and all of the affected parties are treated fairly and equitably" under its

  proposed contractual modifications 11 U.S.C. §1113(b)(1)(A). The debtor must also show that it

  bargained "in good faith" over its proposal with the union, id. §1113(b)(2), and that the balance

  of equities "clearly" favors rejection of the collective bargaining agreement, id. § 1113(c)(3). In

  addition, the debtor must have provided the relevant information that is necessary to evaluate the

  debtor's proposal, 11 U.S.C. §1113(b)(1)(B), and record show that the union's rejection of the

  debtor's proposal was "without good cause," 11 U.S.C. §1113(c)(2). See generally Truck

  Drivers Local 807 v. Carey Transp. Inc., 816 F.2d 82, 88 (2d Cir. 1987). The debtor bears the

  burden of showing that every element of Section 1113 have been satisfied. See, e.g., In re

  Northwest Airlines Corp., 346 B.R. 307, 320-21 (Bankr. S.D.N.Y. 2006); In re Family Snacks,

  Inc., 257 B.R. 884, 892 (B.A.P. 8th Cir. 2001).

         A.      The Proposed Modifications Are
                 Not Necessary for Pinnacle's Reorganization

                 This Court has stated that proving that the proposed CBA modifications are

 necessary for reorganization is the "most fundamental requirement" under Section 1113.

 Northwest Airlines, 346 B.R. at 321. To meet this standard, a debtor must show that to

 reorganize successfully it needs as much relief from the collective bargaining agreement as it

 seeks. See 11 U.S.C. §1113(b)(1)(A), (c)(1). While a debtor need not propose "absolutely

 minimal" changes, it must prove that the changes that it seeks "are required for the debtor to

 successfully reorganize and compete in the marketplace upon emergence from Chapter 11."

 Northwest Airlines, 346 B.R. at 321; see also Carey Transp., Inc., 816 F.2d at 88-90.

                Particularly salient here, Section 1113 mandates that a "debtor may not overreach

 under the guise of proposing necessary modifications." In re Mile Hi Metal Sys., 899 F.2d 887,


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  893 (10th Cir. 1990). Indeed, in its two most recent decisions concerning Section 1113

  applications this Court denied Section 1113 motions based on precisely the type of overreaching

  reflected in Pinnacle's proposal in this case. In In re Hostess Brands, Inc., Case No. 12-22052

  (Bankr. S.D.N.Y.) (May 12, 2012) (attached to this Objection as Exhibit A), the debtor claimed

  that its proposal was necessary because the requested concessions would enable Hostess to

  achieve an EBITDA margin of approximately 10%, which Hostess claimed it needed to permit it

  to attract capital and reorganize. Judge Drain denied the motion and found that Hostess sought

  more than what was necessary. In doing so Judge Drain credited evidence presented by the

  union that its counter-proposal would produce an EBITDA margin of about 9% and found that

  "the one percent difference in margin has not [been] shown to me to be material for purposes of

  Section 1113."

                   Similarly, in In re AMR Corp., 2012 WL 3422541 (Bankr. S.D.N.Y. Aug. 15,

  2012), the court denied American Airlines' Section 1113 motion because of the failure of the

  carrier to establish the necessity of the requested relief. There, Judge Lane concluded that

  American's Section 1113 proposal overreached in seeking to eliminate restrictions in the pilots'

  agreement regarding certain "codesharing," which allows one airline to expand the reach of its

  operations by putting its scheduling code on the flights of a partner airline. Judge Lane found

 that "American has not shown by a preponderance of the evidence ... that essentially unlimited

 codesharing is necessary to achieve a successful reorganization" because it had not proposed an

 expansion of codesharing in its business plan and because "American's unlimited request for

 codesharing is greater even than the comparative group that American urges is an appropriate




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  benchmark." 2012 WL 3422541, at *35.8 The court acknowledged the airline's need for

  flexibility but concluded that "flexibility cannot be unlimited or it would render the necessity

  requirement a nullity." Id. at *36. Hostess and AMR confirm that a debtor cannot establish

  necessity simply by showing that its demands would be helpful in some abstract way

  unconnected to its own reorganization plans.

                  Here, Pinnacle's claim that its August proposal is necessary flatly contradicts

  what it represented it needed in May. As described above, on May 8, 2012, Pinnacle's "ask" in

  labor savings was $43 million per year, with approximately $33 million to come from ALPA-

  represented pilots. Pinnacle Br. at 19; Glass Decl. ¶ 31. Shortly after negotiations began,

  Pinnacle took an eight-week hiatus and then returned with an 80% increase in its demands under

  a business plan with the same basic premises as before.9

                 Since revenues through 2018 are constant in the new plan as compared to the old,

  arithmetic dictates that Pinnacle will be more profitable if it achieves 80% more in cost savings

  from ALPA. But try as it might, Pinnacle cannot justify with reference to its business plan that

  anything material changed that could justify its making new demands. As shown below, neither

  the revisions to the Delta scope clause nor Delta's opaque claims with respect to prices its pays

  for regional lift Nor Pinnacle's futile attempts to "validate" that analysis without access to the

  underlying documents, can justify Pinnacle's new demands.




     8 The court subsequently granted the motion, but only after the Debtor modified its proposal
 to remove unnecessary demands, or "defects" as the court called them. In re AMR Corp., 2012
 WL 3834798 (Bankr. S.D.N.Y., Sept. 5, 2012).

     9   REDACTED




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                         Pinnacle Does Not Need the Revised
                         Demanded Savings From ALPA to Be Profitable

                  It is undisputed that Pinnacle does not require the Revised ALPA Ask to be

  profitable. In May 2012, Pinnacle represented to ALPA, other relevant constituencies, and this

  Court that "[t]he Amended DCAs have the potential to be profitable for the Debtors provided the

  Debtors can achieve certain targeted cost reductions." DIP Motion ¶ 67. Pinnacle's CEO

  further reassured the Court that it had worked with Delta to analyze the extent of labor cost

  savings that would be required to be competitive in the market and that they were "based on the

  negotiation that we had with Delta and what was outlined earlier relative to the company doing a

  significant amount of analysis relative to our contracts and what market contracts are relative to

  compete in the regional business.... We're aware of the concession level we are seeking relative

  to the marketplace." DIP Hearing Tr. at 137-38. This was the basis of the May Labor Ask of

  $42.6 million, which Pinnacle concedes was based on "calculating the amount of savings needed

  to achieve REDACTED

                 The targeted profitability, according to Pinnacle's advisors, "required to generate

  minimal cash flows to attract third-party investment needed for emergence from Chapter 11,

  assuming that such a cost structure would enable it to successfully compete for additional

  profitable business." Id. Delta was, of course, aware of this analysis, as Pinnacle's May

 Business Plan was devised based on Pinnacle's renegotiated agreements with Delta and in close

 consultation with Delta. DIP Motion ¶ 39. As of May 2012, both Pinnacle and Delta believed

 that Pinnacle could successfully reorganize with $33 million in savings from Pinnacle' pilots.

                Notably, the operating margin under the May business plan would place Pinnacle

 above the average in the regional airline industry. REDACTED




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  REDACTED




                  ALPA's October 1 proposal exceeds the $32 million in annual concessions that

  Pinnacle initially proposed in May. Assuming for the sake of argument that the $32 million ask

  is necessary for Pinnacle's reorganization (something Pinnacle has not shown) based on

  Pinnacle's own representations, to ALPA, to other constituencies, and to the Court, ALPA has

  offered Pinnacle the relief that is necessary for Pinnacle to emerge from bankruptcy.

                  2.      The Delta Scope Agreement With ALPA Was No "Game-Changer"

                  Pinnacle contends that subsequent to its May proposal circumstances changed

  because of an agreement that Delta reached with ALPA for a new tentative agreement. Under

  the agreement Delta can increase the number of 76-seat aircraft operated by its regional partners

  if it decreases the number of 50-seat aircraft they operate and if Delta introduces new mainline

  aircraft. Pinnacle claims that the agreement was a "game changer" because it was likely to

  cause a reduction in Pinnacle's 50-seat fleet. Spanjers Dec1.116. Of course, Pinnacle did not

  actually revise its business plan by reducing its 50-seat fleet or by increasing its 76-seat fleet. In

  addition, the "game changer" argument also fails as a justification for Pinnacle's new proposal

  because Delta was fully aware of what it was seeking in negotiations with its own pilots. As

 shown above, Delta had been reducing 50-seat flying for some time when it renegotiated the

 contracts with Pinnacle and it had publicly stated its desire to do so for years. Nonetheless,

 having reviewed the Pinnacle May Business Plan, Delta insisted that Pinnacle immediately

 assume the revised agreements. Dip Motion 39.

                 REDACTED


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  REDACTED




                 Delta's desire to decrease 50-seat flying and increase 76-seat flying, and its May

  agreement with its pilots, could be logically related to the question of the appropriate fleet plan

  for Pinnacle or whether the underlying airline services agreements should be revised. However,

 since Pinnacle has not stated that the agreements with Delta should (or must) be renegotiated

 and since Pinnacle has not changed its fleet plan, Delta's new pilot agreement provides no basis

 for Pinnacle to increase its ask between May and August — and to do so by 80 percent.

                 3.      The Alleged REDACTED
                                        Are Not Plausible

                 Pinnacle also seeks to justify the 80% increase in its demand on an alleged

 pricing gap asserted by Delta. Pinnacle argues that this gap must be closed or Pinnacle will not


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  be competitive in the long-term. First, it is simply incredible to assert that Delta would insist

  that Pinnacle assume contracts under which it was over-paying for regional lift REDACTED

  annually. It is equally implausible that Delta and Pinnacle only discovered this pricing gap in

  June, well after Pinnacle had petitioned for Chapter 11 protection, Delta and Pinnacle had

  negotiated, agreed to, and obtained the Court's approval of the Restated ASAs, and Pinnacle had

  formulated with Delta's help a business plan and set of labor demands and begun negotiations

  over them.

                 Second, Pinnacle's "validation" of the REDACTED                            is based

  on clearly flawed assumptions, and Pinnacle did not even attempt to analyze the REDACTED

                    — even though Delta's plans for CRJ-200 flying were supposedly the "game

  changer" that led Pinnacle to upset the apple cart, suspend negotiations, and come back to the

  table with an increase in its demands.

                 As described above, Pinnacle's May Labor Ask and Business Plan were created

  in close consultation with Delta. The Restated ASAs were, as the court acknowledged,

  negotiated under conditions where there was a clear imbalance of bargaining power in Delta's

  favor. DIP Hearing Tr. at 179. Under such circumstances it strains credulity to suggest that,

  Delta would have agreed to enter into contracts requiring the payment of rates that are tens of

 millions of dollars above what it needed to pay — and in that context provide additional debtor in

 possession financing to boot. If Pinnacle could not provide lift at reasonable prices, there is no

 reason why Delta would not have wound down Pinnacle's operations (like its Comair

 subsidiary) and reached an agreement to place the aircraft with lower cost providers.

                According to Bornhorst's letter, after Delta entered into the revised agreements, it

 undertook an analysis "to determine whether Pinnacle would be a candidate for future lift



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  awards from Delta." Cude Dec1.1- 6. One would expect that such an analysis would have been

  performed before, not after, Delta restructured its current lift agreements immediately prior to

  the bankruptcy filing.

                 In any event, Pinnacle has no direct information about whether the rates it

  charges Delta are in fact above-market, because Delta would not "disclose pricing information"

  for other Delta Connection carriers. In response to ALPA's requests for the relevant

  information, Pinnacle simply said that Delta would not provide it because of confidentiality

  concerns.

                 Delta's analysis is also flawed because it omits from the analysis the difference in

  margin payments it makes to regional carriers. As Bornhorst's letter states, Delta's comparison

  is based on its calculation of the "base rates" Delta pays to Delta Connection Carriers. Delta

  excluded Margin Payments in the base-rate analysis, REDACTED




  Instead of including margin costs in the "cost gap," Delta simply stated that "Pinnacle's margin

 amounts per aircraft payable under its agreements with Delta are equal to or greater than the

 average margin amount per aircraft payable to other Delta Connection carriers." Id. REDACTED




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                  Second, certain "pass-through costs" – operating costs that are borne by Delta

  under its agreements with the regional carriers – were included as a component of the base rates,

  but it appears that those pass-through costs are not treated as base-rate costs under all of the

  Delta Connection carriers. REDACTED




                 The pricing gap claimed in Bornhorst's letter are thus based on dubious

  assumptions — that pass-through costs should be included and that margin payments should be

  ignored — and cannot, without further information and explanation, provide a basis for

  Pinnacle's stunning 80% increase in the labor concessions it demands. Nor can Pinnacle's

  flawed "validation" of the cost gaps buttress the Bornhorst Letter so as to make it a proper basis

  for Pinnacle's sudden drastic increase in concessionary demands, particularly given the crude

  manner in which Pinnacle calculated its revised ask, by simply multiplying Delta's asserted cost

  gaps by the number of planes in Pinnacle's fleet.

                 4.     Pinnacle's "Validation" of the REDACTED
                                                Does Not – And Cannot -
                        Show that the Proposed Labor Concessions are Necessary

                 Virginia Hughes of Seabury Advisors LLC claims to have "validated" Delta's

 asserted REDACTED                         Hughes Decl. ¶ 23. But Hughes then ignores the

  REDACTED                         which amounts to REDACTED                              For this

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  reason alone, Pinnacle has no basis for opining that it "would need to obtain additional savings

  of approximately $33.9 million above and beyond the savings initially requested on May 8,

  2012, bringirig the total annual required savings to approximately $76.5 million." Hughes Decl.

    33.

                  With respect to the supposed REDACTED                             Hughes herself

  candidly admits that the information provided by Delta was "significantly limited." Id. Instead,

  Pinnacle simply analyzed what it believes it would cost just two of Delta's other regional

  carriers, Compass Airlines ("Compass") and GoJet Airlines ("GoJet"), as compared to

  Pinnacle's costs under the May demands. Compass and GoJet are relatively new carriers whose

  pilots lack the longevity of the Pinnacle group. Pinnacle admits, however that there are three

  other regional airlines that provide 76-seat flying to Delta that "may have seniority distributions

  more similar to Pinnacle's." Hughes Dec1.1131. Still, Pinnacle simply ignored these other

  regional carriers because Pinnacle's pilots "likely have a higher seniority due to Pinnacle's ISL

  and additional increases to overall seniority resulting from [a] significant reduction in flying."

  Pinnacle said in May that it had performed just such a benchmarking and that its original

  demands made it competitive. Now, when it looks to increase its demands by 80%, Pinnacle

 cherry picks the comparators to "validate" Delta's assertions.

                 Similarly, the Compass/Lexecon analysis of comparable 76-seat costs is flawed.

 See Eubanks Decl. ¶J 38-39. Compass/Lexecon used pilot block hour costs for 2011 when

 Pinnacle's productivity was negatively affected by the extraordinary training demands related to

 the integration of the three pilot groups and the overall reduction in flying. The effect of this

 error is to overstate the difference Compass/Lexecon computed in pilot unit labor costs. Second,

 the seniority penalty of 3.1% of costs Compass/Lexecon assigned on amount of the return of the



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  Atlanta-based CRJ-900 fleet ignores the effect of the fences in the Bloch Award that protect

  those pilots. Rather, ALPA's October 1 proposal if accepted by Pinnacle, would place its unit

  pilot labor costs below its competitors Shuttle America, Skywest and Express Jet. Eubanks Decl.

     20-21.

                  5.     Pinnacle Has Failed to Make Itself
                         Available for Negotiations with ALPA

                  Under Section 1113(b)(2), Pinnacle was required to "meet, at reasonable times,

  with [ALPA] to confer in good faith in attempting to reach mutually satisfactory modifications

  [I As set forth above, Pinnacle initially presented ALPA with an ask of $33.1 million in

  annual savings in May. Then, based on the Delta tentative agreement of a month before,

  Pinnacle unilaterally declared an 8-week hiatus in negotiations to revise its business plan, only

  to come back with the same business plan but with a demand for concessions that was 80%

  higher than the concessions it demanded in May. Pinnacle nowhere explains why this delay was

  necessary and, instead, points to the delay and a deteriorating cash position as a reason for

  granting its outsized demands. Pinnacle's failure to negotiate or even consult with ALPA while

  it put together a regressive proposal violated its obligation to meet at reasonable times with

 ALPA.

         B.      Pinnacle Has Not Conferred in Good Faith with ALPA

                 Section 1113 requires that a debtor "confer in good faith in attempting to reach

 mutually satisfactory modifications." 11 U.S.C. §1113(b)(2). Regressive bargaining — moving

 farther away from the other party than prior proposals — is a primary indicator that an employer

 has failed to bargain in good faith. See NLRB v. Hardesty, 308 F.3d 859, 866 (8th Cir. 2002)

 (regressive bargaining and other conduct supported violation of NLRA); Golden Eagle Spotting

 Co. v. Brewery Drivers and Helpers, Local Union 133, 93 F.3d 468, 471 (8th Cir. 1996)


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  ("Golden Eagle refused to bargain in good faith by engaging in regressive bargaining"); K-Mart

  Corp. v. NLRB, 626 F.2d 704 (9th Cir. 1980) (bad faith established by regressive proposals,

  delay in making proposals, and refusal to supply requested information).

                 Here, Pinnacle began negotiating based on the May Labor Ask which it

  developed in consultation with Delta and represented would be sufficient for reorganization, and

  then almost doubled that ask based on nothing more than an apparent suggestion from Delta that

  Pinnacle should further reduce its labor costs. For a debtor to begin negotiations, then suspend

  them and increase its demand by 80% and do so on the basis of a suggestion from a third party

  and absent some material change in circumstances, is not good faith, and the Court should not

  place its imprimatur on such conduct.

         C.      Pinnacle Failed to Provide Relevant Information

                 Congress required that a debtor provide a union with the information necessary to

  review its proposals. 11 U.S.C. 1113(b)(1)(b). In looking to check off this element of the

  statutory requirements, Pinnacle points to the numerical quantify of documents it placed in its

  virtual data room and made available to ALPA. But quantity does not carry the day. Rather, the

 question is whether Pinnacle provided the information ALPA needed to assess Pinnacle's

 demands. Thus, in In re Mesaba Aviation, Inc., 341 B.R. 693, 715 (Bankr. D. Minn. 2006), the

 court explained that the purpose of this Section 1113 requirement is to "enable a union's

 representatives and members to subjectively attach some bedrock legitimacy to a debtor's

 proposal-to convince them that the process of formulating the proposal was not arbitrary, not

 `loaded' toward a particular result, not manipulated to produce an unfair allocation of burdens

 among the constituencies to the bankruptcy case." Thus, the question of relevance is not

 determined "merely by its objective, empirical character alone." Id. at 714-15. The court denied



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  the debtor's Section 1113 motion because it had failed to provide the financial model it used to

  validate its concessionary demands. Id. at 717.

                 Here, while Pinnacle provided its financial model, it has not provided the most

  relevant information—the basis for Delta's assertion that there is a cost-gap between Pinnacle

  and other DCI carriers. That, and that alone, is the basis for the 80% increase in Pinnacle's ask,

  and ALPA obviously needs to be able to "attach some bedrock legitimacy" to that dramatic

  increase. Pinnacle says it could not provide the back-up for Delta's assertions (because Delta

  refused to give it the information), but it validated Delta's assertions and provided ALPA with

  that analysis. But Pinnacle did not base its revised 'ask' on any analysis it performed, it based

  its "ask" on what Delta claimed, even though its analyses came up with different numbers

  altogether and even though it provided no analysis at all with respect to the alleged 50-seat

  aircraft gap which REDACTED                       Under these circumstances the failure to provide

  information sufficient to assess Delta's representations means that Pinnacle failed to provide the

  basis information ALPA needs to assess Pinnacle's proposals.

                 The declaration of Jason Cude, a Delta financial analyst, submitted by Pinnacle

  in support of the Motion, adds nothing in this regard because it includes none of the underlying

 documentation supporting Delta's assertions. Instead, Cude simply states that Bornhorst's letter

 is accurate. Cude describes an analysis that Delta did of Pinnacle's costs compared to its

 competitors, which is purportedly based on "Delta's commercial contracts with other Delta

 connection carriers," but neither have been submitted. Thus, neither ALPA, nor creditors, nor

 the Court can make any determination as to the veracity of Cude's statements, and accordingly

 his declaration should bear no weight. While Cude asserts that Delta's agreements with other

 DCI carriers prohibit Delta from disclosing the analysis or the contracts that purportedly support



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  the Bornhorst Letter and Cude declaration, the consequences of that refusal are that the Cude

  declaration is utterly unsubstantiated and should therefore be disregarded.

                 Pinnacle (and Delta) cannot have it both ways, arguing that the JCBA must be

  rejected based on Delta's analysis but then arguing that Delta's analysis must be kept behind the

  curtain. As in Oz, there often is nothing credible behind the curtain.

          D.     Pinnacle's Demands Are Neither Fair Nor Equitable to the Pilot Group

                 A proposal that satisfies Section 1113(b)(1)(A) must "assure[ ] that all creditors,

  the debtor and all of the affected parties are treated fairly and equitably." 11 U.S.C.

  §1113(b)(1)(A) (emphasis added). The purpose of this provision is to "spread the burdens of

  saving the company to every constituency while ensuring that all sacrifice to a similar degree."

  Century Brass, 795 F.2d at 273 (emphasis added). Pinnacle must show that other interested

  parties are shouldering a proportionate share of the burden of its restructuring. See Carey

  Transp., 816 F.2d at 90.

                 The failure to meet this requirement is fatal to a Section 1113 motion, regardless

  of whether it meets all other standards. See In re Lady H. Coal Co., 193 B.R. 233, 242 (Bankr.

  S.D. W. Va. 1996) (denying Section 1113 motion because of inequities between officers'

 compensation and treatment of employees, even in face of possible shut down of facility ); In re

 Alley, Inc., 219 B.R. 88, 93-94 (Bankr. E.D. Pa. 1998) (continued receipt by debtor's principals

 of high salaries prevented court from concluding that proposal was fair and equitable to union

 employees); In re Indiana Grocery Co., 136 B.R. 182, 195-96 (Bankr. S.D. Ind. 1990) (denying

 rejection motion because top management took no reduction in salaries and received bonuses

 while at the same time sought to reject CBA); see also In re Walway Co., 69 B.R. 967, 973 n.15

 (Bankr. E.D. Mich. 1987) ("In most cases, a financially troubled company should consider

 rejection of a labor contract a last resort to help the company survive. The history of the

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   collective bargaining agreement and its special treatment and protection lends support to this

  conclusion").

                  In short, the requirement for a debtor to show that its proposed modifications to a

  labor contract are both fair and equitable is not some insignificant rote and technical component

  of the statute. It is a critical element that Pinnacle must satisfy with actual evidence, and not

  with bald and unsubstantiated conclusory assertions of fairness. Congress has determined that

  fairness and equity must necessarily be considered before authorizing the rejection of a labor

  contract.

                  Pinnacle's August demands are neither fair nor equitable to the Pinnacle pilots.

  First, the concessions demanded come disproportionately from the pilot group. Pilot

  compensation is 58% of payroll, yet pilots are asked by management to take on 78% of the total

  concessions. See Eubanks Decl. ¶ 23. Indeed, the increase in the August demand is targeted

  exclusively on labor cuts, no part of the 80% increase comes from any other source. Eubanks

  Dec1. 1[130. Management has yet to provide a benchmarking analysis of its own compensation

  and targeted no additional savings from itself after the supposed Delta "game-changer." Id. In

  addition, the airline operations are substantially reduced in size since the bankruptcy filing.

  Additional reductions in personnel and/or compensation in the wake of a narrowed scope of

  responsibilities would be both expected and appropriate. Moreover, while management refuses

 to credit ALPA with any part of the pre-bankruptcy savings admittedly realized from LOA 21, it

 credits the value of management head count reduction before the filing. This selective

 accounting cannot camouflage the fact that management's excessive demandsl° fall

 disproportionately on the Pinnacle pilots. This alone is reason to deny the motion.


      o See Declaration of Kristopher M. Pierson, ¶¶ 7-13.


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          E.      ALPA Had Good Cause to Reject Pinnacle's Proposal

                  Section 1113 requires that the Court find that ALPA's rejection of Pinnacle's

  proposals must be without "good cause" in order to enter an order allowing Pinnacle to reject

  JCBA. Here, ALPA has made compromise proposals that will provide Pinnacle with the

  savings it demanded in the May ALPA ask and, as shown above, there is no showing that

  Pinnacle needs the additional concessions it demanded in August. "If the union seeks to

  negotiate compromises that meet its needs while preserving the debtor's required savings, it

  would be unlikely that its rejection of the proposal could be found to be lacking good cause. If,

  on the other hand, the union refuses to compromise, it is as unlikely it could be found to have

  acted with good cause." Northwest Airlines Corp., 346 B.R. at 327. Pinnacle has, however,

  insisted on almost double those savings, based on scant information from Delta and a cursory

  "validation" of that information. Those regressive tactics are inconsistent with bargaining in

  good faith. ALPA's rejection of Pinnacle's proposal was therefore for good cause. This Court

  should deny the motion and permit the parties to negotiate a consensual resolution, which is in

  the interests of all constituencies. See Wychor Decl. T 23.11




       For these reasons, the balance of the equities favor denial of the motion.

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                                       CONCLUSION

               For the foregoing reasons, the Motion should be denied.

  Dated: New York, New York
         October 4, 2012
                                                     Respectfully submitted,

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      1        UNITED STATES BANKRUPTCY COURT

      2        SOUTHERN DISTRICT OF NEW YORK

      3        Case No. 12-22052(RDD)

      4        - - - - - - - - - - - - - - - x

      5        In the Matter of:

      6

      7        HOSTESS BRANDS, INC.

      8

      9                       Debtors.

     10        - - - - - - - - - - - - - - - x

     11

     12                                U.S. Bankruptcy Court

     13                                One Bowling Green

     14                                New York, New York

     15

     16                                May 14, 2012

     17                                3:07 PM

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     19        B E F O R E :

     20        HON. ROBERT D. DRAIN

     21        U.S. BANKRUPTCY JUDGE

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     25        ECRO:      Willie Rodriquez

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      1        HEARING re:   Statement/Notice of Agenda Matters Scheduled

      2        for Hearing on May 14, 2012

      3

      4        HEARING re: Motion of The Bakery, Confectionery, Tobacco

      5        Workers and Grain Millers International Union to Dismiss

      6        Case for Lack of Subject Matter Jurisdiction

      7

      8        HEARING re: Debtors' Motion and Debtors in Possession to (A)

      9        Reject Certain Collective Bargaining Agreements and (B)

     10        Modify Certain Retiree Benefit Obligations, Pursuant to

     11        Sections 1113 (c) and 1114 (g) of the Bankruptcy Code.

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     24        Transcribed by:    Sheila Orms

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      1                   So it's the same scenario.       You're just looking at

      2        a future contribution obligation that we have made the

      3        determination, you know -- well, the idea behind the future

      4        contribution obligation is it postpones insolvency.          And

      5        it's a better scenario for the fund overall and for the

      6        participants and beneficiaries of the fund.

      7                   THE COURT:    Okay.

      8                   MR. BERLINER:    Thank you.

      9                   THE COURT:    Anything else?

     10                   MR. HAMILTON:    We'll stand on our brief, Your

     11        Honor.

     12                   THE COURT:    Okay.   All right.    I have before me a

     13        motion by the debtors in this case to reject their

     14        collective bargaining agreements with the IBT or the

     15        Teamsters pursuant to Section 1113 of the Bankruptcy Code

     16        and as well to reject the benefit plan obligations provided

     17        for in the CBAs under Section 1114 of the Bankruptcy Code.

     18        Pursuant to prior orders of the Court, the IBT was delegated

     19        as the bargaining representative for both of those matters.

     20                   Section 1113 of the Bankruptcy Code governs a

     21        debtor's rejection of collective bargaining agreements.            It

     22        requires the bankruptcy court to approve the rejection only

     23        if the Court makes the following three findings:          First, the

     24        trustee or, in this case, the debtor-in-possession has prior

     25        to the hearing made a proposal that fulfills the

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      1        requirements of Subsection (b)(1) of Section 1113; two, the

      2        authorized representative of the employees has refused to

      3        accept such proposal without good cause; and three, the

      4        balance of the equities clearly favors rejection of the CBA,

      5        11 U.S.C., Section 113(c).

      6                   Because Section 113(c)(1) incorporates Subsection

      7        (b)(1) by reference, the bankruptcy court must also look to

      8        Subsection (b)(1), which provides as follows:

      9                   "Subsequent to filing a petition and prior to

     10        filing an application seeking rejection of a collective

     11        bargaining agreement, the debtor-in-possession or trustee --

     12        hereinafter in this section, trustee shall include a debtor-

     13        in-possession -- shall (A) make a proposal to the authorized

     14        representative of the employees covered by such an agreement

     15        based on the most complete and reliable information

     16        available at the time of such proposal, which provides for

     17        those necessary modifications in the employees' benefits and

     18        protections that are necessary to permit the reorganization

     19        of the debtor and assures that all creditors, the debtor and

     20        all of the affected parties are treated fairly and

     21        equitably; and (B) provides, subject to subsection (d)(3),

     22        which is the confidentiality section, the representative of

     23        the employees with such relevant information as is necessary

     24        to evaluate the proposal."

     25                   Thus, as Collier notes, Section 113(c)

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      1        incorporates both procedural and substantive requirements.

      2        See 7 Collier on Bankruptcy, paragraph 113 -- 1113, excuse

      3        me, point 04.

      4                    The debtors and the IBT agreed upon the specific

      5        proposal by the debtors that would be the proposal to be

      6        evaluated by the Court in this context as well as the IBT's

      7        responsive proposal.      They have both been provided to the

      8        Court.    They are both changed from the initial post-petition

      9        pre-1113 motion proposal by the debtor as well as the

     10        initial responsive proposal by the Teamsters.

     11                    After a period as contemplated by the Court and

     12        the code for bargaining off of the original post-petition

     13        pre-motion proposal, this Court held a two-day evidentiary

     14        hearing, as contemplated by Section 1113(c), on April 18th

     15        and 19th.    The statutory period within which the Court is

     16        supposed to rule on such a motion has not run.           There is

     17        still a fair amount of time as far as these types of motions

     18        are concerned for the parties to continue to negotiate.

     19                    In addition, the covenant in the debtors' DIP

     20        agreement requiring a resolution of the 1113/1114 motion

     21        acceptable to the DIP lenders also has not run, although its

     22        expiree is at the end of this week.        Nevertheless, the

     23        parties have informed the Court that all things considered,

     24        they are either neutral about the Court's ruling today or

     25        believe, in the debtors' case, that a ruling would assist

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      1        the parties in attempting to negotiate a resolution of their

      2        disputes.

      3                    That is clearly the desired goal of Section 1113

      4        of the Bankruptcy Code, as stated repeatedly by the Second

      5        Circuit, most recently by Chief Judge Jacobs in his

      6        concurring opinion in In re Northwest Airlines Corp, 483

      7        F.3d 160 at page 179 through 180.        Section 113 sets in

      8        motion an expedited form of collective bargaining with

      9        several safeguards designed to ensure that employers do not

     10        use Chapter 11 as medicine to rid themselves of corporate

     11        indigestion, citing Century Brass Products, Inc. v. United

     12        Auto, Aero and Agricultural Implement Workers of America,

     13        795 F2d 265, 272, Second Circuit, 1986.

     14                    The process ensures that well informed and good

     15        faith negotiations occur in the marketplace not as part of

     16        the judicial process.      Reorganization procedures are

     17        designed to encourage such a negotiated voluntary

     18        modification.

     19                    "Knowing that it cannot turn down an employer's

     20        proposal without good cause gives the union an incentive to

     21        compromise on modifications of the collective bargaining

     22        agreement so as to prevent its complete rejection.           Because

     23        the employer has the burden of proving its proposals are

     24        necessary, the union is protected from an employer whose

     25        proposals may be offered in bad faith."         In re Maxwell

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      1        Newspapers, Inc., 981 F2d 85, 90, Second Circuit, 1992.

      2                   Therefore, except with respect to the speed

      3        involved, and Judge Jacobs describes it as essentially

      4        collective bargaining on wheels at 179, the purpose of

      5        Section 113, albeit in a Chapter 11 context with a focus on

      6        the fact that Chapter 11 is indeed a serious and unique

      7        context for dealing with an employer's financial problems,

      8        it is designed to come as close as possible to the out of

      9        bankruptcy collective bargaining process.

     10                   During the April 17th through 18th trial, I

     11        considered the testimony of the following witnesses: Gregory

     12        Rayburn, the debtors' CEO; Dr. John Johnson, an expert

     13        witness retained by the debtor primarily to assess the

     14        marketplace and/or competitive nature of the IBT's

     15        compensation, both hard and soft; Jeffrey Parlato, the

     16        employee of the debtors most responsible for negotiating

     17        collective bargaining agreements, including with the IBT;

     18        Mitchell Hofing, also an expert called in rebuttal in

     19        respect of multi-employer pension plan issues; and Michael

     20        Kramer, the debtors' investment banker at Perella Weinberg.

     21                   I also heard the testimony of Daniel Wrenn, a IBT

     22        member and route sales representative with Hostess since

     23        1983; Harry Wilson, the chairman and CEO of the Maeva Group,

     24        M-A-V -- M-A-E-V-A, who can best be described as Mr.

     25        Kramer's opposite number as the financial adviser for

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      1        Chapter 11 purposes to the IBT; Michael Belzer, an economist

      2        also called to opine as to the competitive nature of the

      3        compensation, both hard and soft, for the IBT workers; Iain

      4        Gold, somewhat of the opposite number to Mr. Parlato; and

      5        Ken Hall, the general secretary-treasurer of the IBT and

      6        ultimately responsible for the negotiations of the new

      7        collective bargaining agreement and the present relationship

      8        between the IBT and the debtors from the IBT's perspective.

      9        I also considered as rebuttal witness Joshua Scherer,

     10        another member of Perella Weinberg, the debtors' financial

     11        adviser, with respect to the nature of the negotiations

     12        primarily between the two sides.

     13                     I found all of the witness's testimony to be

     14        credible, particularly so with respect to the fact witnesses

     15        and Mr. Kramer and Mr. Wilson.        The debtors' expert, Mr.

     16        Johnson, and his opposite number, Mr. Belzer, at times

     17        seemed to be talking at cross-purposes with each other,

     18        sticking to their sources for their data.          But I did not

     19        find either of them within the general skepticism that the

     20        Court treats each side's expert to be out of line in their

     21        testimony.

     22                     As far as the procedural aspects of Section 113

     23        are concerned, I find that the debtor has complied with each

     24        of the -- of such requirements of Section 113(b)(1) and (c).

     25        The debtor made a proposal to the IBT accompanied by the

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      1        kind of relevant and reliable information needed to evaluate

      2        it.   And further, I believe it bargained in good faith with

      3        the union.     See In re Century Brass, 795 F2d at 7 -- at 273,

      4        Second Circuit, 1986.

      5                     Frankly, there was no complaint by the union as to

      6        the completeness and reliability of the information provided

      7        by the debtors.      And it appeared to me that the union and

      8        not only Mr. Wilson but also Mr. Hall and Mr. Gold were at

      9        least as well informed about the debtor as were the debtors'

     10        representatives.

     11                     Obviously, the aspects of information pertaining

     12        to the debtors' future, including the debtors' projections

     13        and the implementation of its business plan, which

     14        contemplates very substantial changes to the natures -- the

     15        debtors' cost structure and the nature of its business

     16        cannot be predicted with any certainty.          But I have reviewed

     17        the debtors' business plan and the modification of it

     18        initiated by Mr. Rayburn and dated April 4th, 2012, and I

     19        believe that it is a good enough picture of not only the

     20        debtor today but also as projected for purposes of the

     21        information requirements of Section 113(b)(1).

     22                     It is clear from the case law, including based on

     23        the quote I earlier gave from Maxwell Newspapers at Page 90,

     24        that the debtor must bargain in good faith with the union as

     25        part of the procedural elements of the statute.            See also In

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      1        re Century Brass, 795 F2d at 273, and Truck Drivers Local

      2        807 versus Carey Transportation, 816 F2d 82, 90, Second

      3        Circuit, 1987.

      4                     It's not entirely clear where this requirement

      5        appears in the statute, although the best place for it is

      6        probably 1113(b)(2), although that is not specifically

      7        incorporated in Section 1113(c)(1).         Nevertheless, it is a

      8        clear element as established by the case law in this circuit

      9        of the debtors' burden to show that it did in fact bargain

     10        in good faith after it submitted its original proposal.

     11                     Certain of the IBT's witnesses, including Mr.

     12        Wilson, have acknowledged that the debtor has bargained in

     13        good faith.     Mr. Hall took some exception to that based upon

     14        his experience in normal collective bargaining, i.e. not

     15        bargaining on wheels, under Section 1113 of the Bankruptcy

     16        Code.   In that regard, he expressed concern about the

     17        debtors having made one proposal and changed the terms in a

     18        subsequent proposal in a way that appeared to him to be re-

     19        trading.

     20                     In addition, he was clearly frustrated by the fact

     21        that the debtors submitted their penultimate proposal 25

     22        minutes after the deadline set by the Court and did not

     23        discuss it with him or his agents before it was released to

     24        the press.     I believe he was also frustrated by the fact

     25        that in the middle of this extremely time-compressed

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      1        process, the debtors' CEO resigned and Mr. Rayburn was

      2        appointed CEO in Mr. Driscoll's place.

      3                     However, for purposes of the good faith

      4        requirement under Section 1113, I believe none of those

      5        considerations would lead one to conclude that the debtor

      6        has not negotiated in good faith.         Rather, I find that the

      7        debtor has negotiated in good faith with the IBT.

      8                     As far as changing positions or putting on the

      9        table proposals that had been taken off the table

     10        previously, I conclude first that it is more common in an

     11        1113 context for debtors-in-possession to move the pieces

     12        around in a collective bargaining proposal to try to obtain

     13        the result that is in monetary terms acceptable to the

     14        debtor and in terms of specific emphasis still acceptable to

     15        the union.     Secondly, I believe because of the midstream

     16        change of CEO, some confusion as far as the specific terms

     17        of the debtors' proposals is understandable, and I believe

     18        that the alleged re-trading here falls into a relatively

     19        minor part of the debtors' negotiating proposals.

     20                     Finally, it appears to me that Mr. Rayburn has

     21        acted responsibly and effectively in stepping into the

     22        breach left by Mr. Driscoll.        I have reviewed his April 4th

     23        turnaround plan and believe that it is reasonable and an

     24        improvement upon the debtors' February plan, and that he has

     25        generally taken hold of the debtors' business, including

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      1        effectively dealing with the prepetition salary/bonus

      2        increase issue that had the potential for truly poisoning

      3        the negotiations by causing, with the agreement of the

      4        effective -- the affected officers of the company, the

      5        reversal of that transaction.        So I conclude that the

      6        debtors have satisfied the procedural elements of Section

      7        1113(b) and (c).

      8                     In order to comply with the substantive

      9        requirements of Section 1113(b)(1), the debtor, again, must

     10        demonstrate that the modifications and benefits and

     11        protections are necessary to permit the reorganization of

     12        the debtor, and all creditors, the debtor and all affected

     13        parties are treated fairly and reasonably.              The most

     14        fundamental requirement for rejection of the collective

     15        bargaining agreement is that the rejection must be

     16        necessary.

     17                     This is obviously a change from the standard set

     18        forth in Section 365 of the Bankruptcy Code.              The debtor

     19        must show not only that the agreement is burdensome but that

     20        the rejection is necessary to permit the reorganization of

     21        the debtor.     See Carey Transport, 816 F.2nd at 90.

     22                     As developed in the Second Circuit, the court

     23        specifically rejected the Third Circuit's narrower

     24        construction of Section 1113 in Wheeling-Pittsburgh Steel

     25        versus United Steelworkers, 791 F2d 1074, 1088 through 89,

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      1        Third Circuit, 1986, where that court construed the term

      2        necessary to encompass only those modifications essential to

      3        the debtors' short-term survival or necessary to prevent

      4        liquidation.   As stated by the Second Circuit in Carey

      5        Transport, the Second Circuit reads the term to mean that

      6        the proposal contained necessary but not absolutely minimal

      7        changes that will enable the debtor to complete the

      8        reorganization successfully.

      9                   As that court explained, the term necessary could

     10        not be synonymous with essential or bare minimum because if

     11        a debtor were constrained to propose only the minimal

     12        changes to a collective bargaining agreement, it would have

     13        no room to engage in the good faith negotiations required by

     14        Section 113.   Rather, a debtor's proposed modifications are

     15        considered necessary if they have a significant impact on

     16        the debtor's operations and are required for the debtor to

     17        reorganize successfully and compete in the marketplace upon

     18        emergence from Chapter 11, 816 F2d at 89 through 90.          See

     19        also Royal Composing Room, Inc. -- In re Royal Composing

     20        Room, Inc., 848 F2d 345, 348, Second Circuit, 1988, and In

     21        re Northwest Airlines Corporation, 346 B.R. 307, 321,

     22        Bankruptcy S.D.N.Y 2006.

     23                   The focus is on, again, therefore necessary for a

     24        successful reorganization to enable the debtor to compete in

     25        the marketplace upon emergence from Chapter 11.          This does

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      1        not mean, though, that the debtor is required to demonstrate

      2        how each element of modification is necessary.            Rather, when

      3        determining the necessity of the debtor's proposal it must

      4        be viewed as a whole as achieving those elements that are

      5        necessary to enable the debtor to reorganize effectively.

      6        Royal Composing Room, 848 F2d at 348.

      7                     The debtor must also demonstrate that all

      8        creditors, the debtor and all affected parties are treated

      9        fairly and equitably under 1113(b)(1).          The purpose of this

     10        requirement is to spread the burdens of saving the company

     11        to every constituency while ensuring that all sacrifice to a

     12        similar degree.      In re Century Brass, 795 F2d at 273, Carey

     13        Transportation, 816 F2d at 90.        In other words, the debtor

     14        must spread the hurt.       In re Horsehead Industries, Inc., 300

     15        B.R. 573, 584, Bankruptcy S.D.N.Y. 2003.

     16                     It is clear, though, that under the standard the

     17        various constituencies need not share an identical burden.

     18        The key phrase as set forth by Century Brass and Carey

     19        Transportation is, quote, to a similar degree.            Therefore,

     20        the debtor has the burden to demonstrate why one particular

     21        constituency must bear more than its proportionate share of

     22        the financial burden.       In doing so, courts apply a flexible

     23        approach in determining what constitutes fair and equitable

     24        treatment.     See for example in re Indiana Grocery Company,

     25        136 B.R. 182, 194, Bankruptcy SD Indiana, 1990, quote,

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      1        "Equity under Section 1113 means fairness under the

      2        circumstances."

      3                     As noted by Judge Gropper in the Northwest

      4        Airlines case, a debtor can meet the fair and equitable

      5        requirement of Section 1113 by showing that its proposal

      6        treats the union fairly when compared with the burden

      7        imposed on other parties by the debtor's additional cost-

      8        cutting measures and the Chapter 11 process generally.

      9        Thus, for example, the Court needs to take into account the

     10        rights and leverage in terms of both legal rights and rights

     11        in the marketplace or leverage in the marketplace of the

     12        other constituents in determining what is fair and equitable

     13        for purposes of this subsection of the statute.

     14                     The statute in Section 1113(c)(3) also requires

     15        the Court to balance the equities so that it finds or to

     16        find that the equities clearly favor rejection of the

     17        agreement.     It's recognized that this requirement codifies

     18        the aspect or that aspect of NLRB v. Bildisco and Bildisco,

     19        465 U.S. 513, 1984.      See In re Century Brass, 795 F2d at

     20        273.

     21                     It also is a flexible standard applied on a case-

     22        by-case basis, but the Second Circuit has directed courts to

     23        look at the following factors to determine whether the

     24        balance of the equities clearly favors rejection, in Carey

     25        Transportation, 816 F2d at 93:

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      1                   "One, the likelihood and consequences of

      2        liquidation if rejection is not permitted; two, the likely

      3        reduction in the value of creditors' claims if the

      4        bargaining agreement remains in force; three, the likelihood

      5        and consequences of a strike if the bargaining agreement is

      6        voided; four, the possibility and likely effect of any

      7        employee claims for breach of contract if rejection is

      8        approved; five, the cost-spreading abilities of the various

      9        parties, taking into account the number of employees covered

     10        by the bargaining agreement and how various employees' wages

     11        and benefits compare to those of others in the industry; and

     12        six, the good or bad faith of the parties in dealing with

     13        the debtor's financial dilemma."

     14                   In short, in striking the balance, the Court must

     15        consider the degree as well as any qualitative difference

     16        between the hardships each party may face upon rejection of

     17        the collective bargaining agreement, 7 Collier on

     18        Bankruptcy, paragraph 1113.057.       Certain of those factors

     19        would in light of subsequent decisions both by the lower

     20        courts and by the Second Circuit in the Northwest Airlines

     21        decision require a further gloss.       For example, in Northwest

     22        Airlines, 483 F2d 160, the Second Circuit held that unless

     23        offered by the debtor as part of the resolution of a -- the

     24        consensual resolution of a Section 1113 motion or a court-

     25        imposed resolution, the union would not have a rejection

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      1        claim.

      2                   But I believe the factor still needs to be

      3        considered as has been acknowledged by subsequent courts in

      4        light of, again, sharing the cost.       That is, it is

      5        appropriate for a debtor to consider offering such a claim,

      6        even though it is not required to do so upon rejection.

      7        Similarly, the issue of the likelihood of a strike may not

      8        carry much weight if, as was the case in the Horsehead

      9        decision that I cited earlier by former Chief Judge

     10        Bernstein, the Court concludes that the debtor          would

     11        liquidate either upon a strike or, importantly, if the

     12        debtors' motion were not granted.

     13                   Nevertheless, it is a relatively flexible set of

     14        factors, again, focusing primarily on the rights and

     15        leverage both legal and business of the parties in the

     16        context of the debtors' reorganization.        In large measure,

     17        it focuses on treatment of non-union employees in comparison

     18        to union employees as well as to the treatment of other

     19        unions and the union specifically at issue in the motion,

     20        although it also should consider other constituencies'

     21        rights and leverage in the Chapter 11 context.

     22                   Finally, the Court must find that the authorized

     23        representative of the employees has refused to accept such

     24        proposal without good cause, 11 U.S.C., Section 1113(c)(2).

     25        The Second Circuit has held that the purpose of the good

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      1        cause requirement serves to prohibit any bad faith conduct

      2        by an employer while at the same time protecting the

      3        employer from a union's rejection of the proposal without

      4        good cause, which is largely a tautology, 795 F2d and 273.

      5                   It is clear, though, that this requirement forces

      6        the union to the negotiating table.       See In re Maxwell

      7        Newspapers, 981 F2d at 90.      As stated by that court, this

      8        requirement fosters the goals of good faith negotiations and

      9        voluntary modification and induces the debtor to propose

     10        only those modifications necessary to a successful

     11        reorganization while protecting the debtor against the

     12        union's refusal to accept the proposal without a good

     13        reason.

     14                   Where the union rejects a proposal that is

     15        necessary, fair and equitable, it must explain the reasons

     16        for its opposition.    On the other hand, if the union makes

     17        counterproposals that meet its needs while preserving the

     18        savings required by the debtor, its rejection of the

     19        debtor's proposal will be with good cause.            See In re

     20        Horsehead Industries, 300 B.R. at 584, citing, among other

     21        cases, In re Maxwell Newspapers, 981 F2d at 90, and Royal

     22        Composing Room, 848 F2d at 349.

     23                   The debtors in their proposals have focused on

     24        both quantifiable cost savings and largely unquantifiable

     25        but nevertheless significant business risks that they

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      1        believe must be curtailed or eliminated in order for the

      2        debtors to successfully merge -- emerge from Chapter 11.

      3        The business risks that I'm referring to have to do almost

      4        entirely with the fact that under the collective bargaining

      5        agreements the debtors participate in a number of multi-

      6        employer pension plans set up under the Taft-Hartley Act,

      7        and certain of those plans are in serious financial distress

      8        or so-called red plans.

      9                   For example, the debtors have over 3,000 employees

     10        currently employed by the IBT, I mean, represented by the

     11        IBT in the Central States Pension Plan, which has a current

     12        liability in respect of vested benefits far in excess of the

     13        amount of plan assets so that its funded status is at

     14        approximately 48-and-a-half percent.        The debtors also have

     15        a substantial number of IBT represented employees in the New

     16        England Teamsters and Trucking Industry Pension -- Multi-

     17        Employer Pension Plan, which also has a substantial excess

     18        of current liability versus plan assets such that its

     19        funding status is at approximately 40 percent.

     20                   The fact that these plans are substantially

     21        underfunded has been noted not only by the debtors but also

     22        in the financial world generally.       The debtors had offered

     23        -- have offered up, for example, as Exhibit D-71 an analysis

     24        in the form of a special comment by Moody's on the fact that

     25        growing multi-employer pension funding shortfall is an

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      1        increasing credit concern.      It's dated from September 2009.

      2        However, I believe that the trial record, including Mr.

      3        Hofing's testimony, confirms that there's been little to no

      4        improvement since then in terms of the risks involved.

      5                   They've also introduced testimony from May 27th,

      6        2010 by Thomas C. Nyhan, executive director and general

      7        counsel of the Central States Southeast and Southwest Areas

      8        Pension Fund, in which he states that that fund faces an

      9        unprecedented financial crisis.       If no action is taken, the

     10        fund is projected to be insolvent in the next 10 to 15

     11        years.

     12                   The debtors therefore originally proposed that the

     13        collective bargaining agreements be amended so that they

     14        would withdraw from the MEPPs and crystallize their

     15        withdrawal liability, which would then be discharged upon

     16        the confirmation of their Chapter 11 plan.            They have

     17        revised that proposal in light of the union's strong

     18        opposition to it and in essence have provided that in

     19        addition to providing for specific savings for contributions

     20        to ongoing pension obligations it will or the debtor will

     21        attempt to re-enter two so-called green MEPPs that are

     22        currently ones in which IBT employees of the debtors are

     23        beneficiaries before January 1, 2003, subject to certain

     24        conditions, including with respect to the health of -- the

     25        financial health of those replacement MEPPs and the

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      1        migration of all new hires away from the MEPPs and into a

      2        separate 401(k) plan.     The debtors' proposal also

      3        contemplates having specific representation and control, in

      4        effect, of the green MEPPs board of trustees, although the

      5        debtors' witnesses recognized that those trustees would be

      6        fiduciaries to the plan or to the fund and not to the

      7        debtors.

      8                   It was clear from all of the parties -- all of the

      9        witness's testimony that the MEP issue, that is, the future,

     10        if at all, of the debtors' participation as an employer in

     11        the MEPs was the primary sticking point and the primary

     12        initial issue as well between the debtor and the union.           The

     13        union was strongly opposed to the debtors' termination of

     14        all of the participation in all of the MEPPs.          And yet, as

     15        the parties progressed in their discussion, the union did

     16        recognize, as testified to in particular by Mr. Wilson, that

     17        the existence of the serious problems with certain of the

     18        MEPPs, at least three of them being substantially in the

     19        red, creates potentially insurmountable obstacles without

     20        change to the debtors' emergence from Chapter 11.

     21                   This is because both the debtor and the union

     22        agree that to emerge from Chapter 11 in a way that will

     23        enable a successful reorganization, the debtor has to obtain

     24        not only substantial and meaningful concessions from its

     25        secured creditors but also in all likelihood a substantial

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      1        new money investment from third parties.        And it is unlikely

      2        that either of those things would occur with the risks posed

      3        by the existing MEPP situation continuing without change.

      4                   Consequently, the union in its final proposal of

      5        April 15th, 2012, proposed a changed relationship between

      6        the debtor and the MEPPs.     First, it proposed a somewhat

      7        reduced monetary concession with respect to the contribution

      8        rate by the debtor to the pension obligations that it would

      9        have to its employees.     Hostess contemplated a 22 percent

     10        reduction with subsequent increases in contributions for

     11        benefits up to 5 percent per year for the period of the

     12        agreement, whereas the IBT proposed a 10 percent reduction

     13        in the contribution rate with the company continuing to

     14        contribute 10 percent less than the established rate in --

     15        for the remainder of the agreement.

     16                   As importantly, the union proposed that the debtor

     17        would exit the MEPPs but provide at the same time for its

     18        re-entry into the MEPPs, including the troubled ones, under

     19        the following terms.     Each MEPP would be required to adopt a

     20        new employer pool or amend its existing new employer pool

     21        consistent with the following: the PBGC would approve the

     22        new employer amendments within six months of the date of the

     23        agreement, and each MEPP would provide an agreement stating

     24        that the debtors' discharge of withdrawal liability in

     25        bankruptcy constitutes full satisfaction of that liability

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      1        for purposes of entry into the new employer pool.          Further,

      2        in the event that the debtor is included in a mass

      3        withdrawal, that is, a withdrawal of either 100 percent or

      4        roughly 85 percent by agreement or a forced withdrawal of

      5        the employers in the funds, the MEP will allocate mass

      6        withdrawal liability proportionate to each employer's

      7        initial withdrawal liability, i.e. the withdrawal liability

      8        through the new employer pool amount based on that unfunded

      9        liability as opposed to the discharged unfunded liability.

     10                   In the event that any of the following withdrawal

     11        events as defined below occur, however, Hostess shall be

     12        deemed to have withdrawn from the effective MEP on the last

     13        date of the plan year prior to the withdrawal event's

     14        occurrence.   Those events include Hostess being subject to

     15        an increase of 15 percent or more in the rate of its

     16        required annual contribution to the MEP, the IRS assessing

     17        an excise tax under 26 U.S.C., Section 4971 with respect to

     18        the MEP.

     19                   If the MEP fails for two consecutive years to

     20        satisfy its rehabilitation plan, the MEP becomes insolvent

     21        within the meaning of Section 4245 of ERISA.          If for any two

     22        consecutive years the allocable new employer pool of

     23        unfunded vested benefits attributable to Hostess exceeds

     24        three times Hostess's annual contributions to the MEP for

     25        such years, UVBs from the MEP's old employer pool are

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      1        allocated to the new employer pool.        If funding levels

      2        calculated in the same manner as for the MEP's annual

      3        funding notice fall below 80 percent in the new employer

      4        pool or below 20 percent in the old employer pool where

      5        there is a final non-appealable order of a court of

      6        competent jurisdiction holding that a MEP's new employer

      7        amendments are substantively illegal in a material respect

      8        and such illegality cannot be corrected through reasonable

      9        measures.

     10                    Under those circumstances, as I noted in the

     11        union's proposal, Hostess shall be deemed to have withdrawn

     12        and then shall go to a fallback MEP, which is specified in

     13        paragraph three on page six of the union proposal, although

     14        there is some uncertainty as to the triggers for that or the

     15        nature of the fallback MEP.       And finally, if they fail -- if

     16        no MEPs qualify as a fallback MEP and/or the PBGC does not

     17        approve the amendments, the company will contribute the

     18        appropriate contributions into a third-party escrow account,

     19        and the parties will mutually agree on an acceptable

     20        alternative.

     21                    The debtor offered significant testimony as well

     22        as subsequent briefing to the effect that while it viewed

     23        that the union had acted creatively and in good faith in

     24        proposing the foregoing, it has not in so doing provided an

     25        acceptable alternative to the debtors' proposal or to the

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      1        simple termination of the MEPs and the creation of a new

      2        single-employer pension plan or 401(k) plan for the existing

      3        Teamster employees and new hires.

      4                   The debtors' concern is best put in the context of

      5        Mr. Kramer's testimony, who noted that in addition to

      6        changing its business plan and thereby substantially

      7        reducing costs and projecting additional earnings based on

      8        that business plan, all of which has a substantial execution

      9        risk, the debtor also carries two additional substantial

     10        execution risks for its emergence from bankruptcy.          First,

     11        this is a Chapter 22 case.      The debtor has previously been

     12        through a bankruptcy case and emerged, nevertheless, with

     13        significant levels of debt and its underlying business

     14        issues not having been materially improved upon.

     15                   And second, the debtor faces substantial

     16        uncertainty in obtaining new financing based upon the risks

     17        posed by the potential for increasing contributions to the

     18        MEPs and in addition the potential for substantial

     19        withdrawal liability from the MEPs in the future on a mass

     20        withdrawal scenario.     The IBT as well as the Central States

     21        Pension Fund has tried to persuade the Court that this risk

     22        is actually relatively minimal, but I believe it is

     23        nevertheless substantial.

     24                   I will note that it is uncontroverted that UPS

     25        Corporation paid approximately $6 billion in order to be

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      1        relieved of its ongoing obligations to one of the MEPs, and

      2        I believe it's perfectly appropriate to infer that it had

      3        good reasons to do so based upon its assessment of the risks

      4        of being a continuing participant in the MEPs.          I will note

      5        also that the proposals by prospective exit investors both

      6        -- all contemplate both the reduction of MEP exposure and a

      7        structure quite close to the debtors' final proposal.

      8                   I recognize that those proposals may be

      9        potentially self-serving and that I could, to some extent,

     10        play a game of chicken with the potential plan funders.           But

     11        it appears to me based upon the testimony that I've heard as

     12        well as the additional briefing that has been given to me at

     13        my request on the legal risks posed by the IBT's proposed

     14        MEP solution that there is both a substantial legal and

     15        underlying economic risk of the debtors remaining in the IBT

     16        collectively bargained for MEPs even under the new employer

     17        pool proposed by the union.

     18                   It appears to me that while the debtor would have

     19        arguments as to the timing of the other employers in those

     20        funds ability to contest the proposal that the union is

     21        proposing, there is a substantial risk that the debtors

     22        providing for no withdrawal liability payments and relying

     23        simply on its discharge would give rise to a right and a

     24        potential objection that would be sustainable by the other

     25        employers in the MEP, some of whom are the debtors' direct

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      1        and primary competitors.     That the PBGC's approval of the

      2        union-proposed structure is not or was not proper and that

      3        instead, the withdrawal liability that would be discharged

      4        by the debtor would be over allocated to the other employer

      5        sponsors of the plan.

      6                   I agree with the debtor -- I'm sorry.         I agree

      7        with the IBT that the likelihood of a total or partial

      8        deemed withdrawal -- mass withdrawal from any of the MEPs is

      9        relatively unlikely.     However, the consequences of there

     10        being such a mass withdrawal are potentially drastic.          It is

     11        not clear to me that they would be limited as far as the

     12        other employers in the pool -- in the fund to the right to

     13        get refunds from the fund as opposed to the imposition of

     14        additional withdrawal liability above the new pool

     15        withdrawal liability on the debtor.

     16                   It appears to me that that risk, although fairly

     17        remote given the number of employers in the red plans, is

     18        nevertheless the type of risk that would cause a reasonable

     19        investor to question a long-term commitment to the debtor.

     20        It is clear from the testimony of all of the IBT's witnesses

     21        that it is that type of long-term commitment, one that

     22        focuses on the need to focus the debtor on necessary capital

     23        expenditures, advertising expenditures and R&D that is

     24        necessary to enable this debtor to reorganize.

     25                   Consequently, I conclude that with one exception,

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      1        the debtors' proposal or counterproposal of establishing two

      2        substitute green MEPs to migrate the IBT employees is

      3        necessary and in good faith for purposes of Section 1113 of

      4        the code.    The one area that I have a grave concern about

      5        with regard to that proposal is the notion in that proposal

      6        that it would include only existing employees and not future

      7        hires.    It appears to me that that would create substantial

      8        risk going forward for the replacement MEPPs since it is

      9        ongoing employees that help sustain the life of any pension

     10        plan, and that continuing obligation I believe is critical

     11        for the debtors' proposal to work.

     12                    I conclude that although the union has negotiated

     13        in good faith and tried to be creative with respect to the

     14        MEP issue, it has not accepted the debtors' proposal with

     15        the one caveat, however, that I mentioned with good cause.

     16        However, that caveat does mean that the union has turned

     17        down the proposal with good cause.        Again, the caveat being

     18        that the debtors proposed the substitute MEPPs to contain

     19        only existing employees and not new hires.

     20                    The remaining areas of disagreement between the

     21        debtors' final proposal and the union's final proposal fall

     22        into two categories.      First are economic differences between

     23        the proposals, both in terms of hard costs and soft costs.

     24        The second are in my view procedurally focused aspects of

     25        the agreements.     Let me deal with the procedural aspects

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      1        first.

      2                     The union, as is to be expected, has a provision

      3        of its proposal calling for a grievance procedure to ensure

      4        that there has been equal sacrifice as among all of the

      5        debtors' employees, not just IBT employees but other union

      6        employees and non-union employees.         It refers to requiring

      7        the, quote, same percentage reduction in total compensation

      8        as is being applied to the IBT bargaining unit employees in

      9        addition to the rescission or continued rescission of the

     10        late 2011 management team bonus and salary transaction.               It

     11        also provides that the company shall not increase wages,

     12        including benefits, and benefits of current non-bargaining

     13        unit employees, including management, as an overall

     14        percentage beyond the effective overall total compensation

     15        percentage increases to be received by the bargaining unit

     16        employees.

     17                     As I noted, however, the fair and equitable and

     18        balance of the equities elements of Section 1113 do not

     19        require identical treatment nor even pro rata treatment

     20        among the debtors' employees, union and non-union.            On

     21        cross-examination -- actually, on questioning from the

     22        Court, it was recognized that different types of employees

     23        have different leverage.

     24                     To be more specific, Mr. Hall recognized that one

     25        of the needs of this debtor is to get appropriately

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      1        experienced management.     In his words, if he could get Jack

      2        Welch he would certainly pay for Jack Welch or his

      3        equivalent.   So it appears to me that although it would be

      4        reasonable for a union to put some constraints tied to a

      5        business plan or to market conditions on the treatment of

      6        non-union employees and management, this aspect of the

      7        union's proposal goes beyond what is reasonable and goes

      8        beyond good cause.

      9                   The union's proposal also contemplates a specific

     10        Chapter 11 plan structure and process to get to confirmation

     11        of that plan as well as specific capital structure for the

     12        reorganized debtor.     In addition, it contemplates not only

     13        board representation by the union but also a veto by the

     14        IBT-designated director with respect to certain transactions

     15        going beyond the normal conduct of business.

     16                   It is quite reasonable for the union to want to

     17        ensure that the debtor will have an appropriate

     18        capitalization coming out of bankruptcy.        The union has in

     19        my view astutely identified the debtors' operational and

     20        business issues.     There was substantial agreement between

     21        Mr. Kramer and the union's witnesses on this point, that the

     22        debtor has gone for too long without necessary capital

     23        expenditures for plant and its fleet of vehicles, that it

     24        has gone for too long without an appropriate SG&A budget,

     25        and that it has gone too long without appropriate R&D

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      1        budget.

      2                   It appears to me, however, that not only

      3        Mr. Kramer but also Mr. Rayburn and his turnaround plan of

      4        April 4th take those concerns well into account.          Therefore,

      5        it would appear to me to be excessive for the union to

      6        require the -- as a condition of the collective bargaining

      7        agreement's amendment that the debtor go beyond what is

      8        reasonably necessary to execute that business plan and to

      9        propose a feasible, that is feasible under Section 1129(a)

     10        of the Bankruptcy Code, Chapter 11 plan.

     11                   I would not be saying this if I did not believe

     12        that the April 4th plan is in substantial agreement with the

     13        union in respect of what needs to be done as far as the

     14        debtors' capital structure and cost structure.          So it

     15        appears to me that the provisions that I have discussed as

     16        well as the accountability provision, which deals with

     17        milestones going forward, are under the circumstances -- and

     18        it is important to note that it is only under the

     19        circumstances and relying upon the business plan --

     20        overreaching by the union.

     21                   On the other hand, it appears to me to be

     22        reasonable and an exercise of good cause for the union to

     23        insist upon provisions implementing modified CBAs and, if

     24        achievable within a reasonable capital structure, a claim

     25        for the concessions -- the monetary concessions made by the

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      1        union, a prepetition claim, that is.        It also seems to me to

      2        be reasonable that the union have representation on the

      3        debtors' board and that there be general level of

      4        information sharing so that the union can be reasonably

      5        assured that the business plan is being carried out.

      6                   Let me turn finally to the monetary provisions of

      7        the two proposals, the company's and the debtors'.

      8        Mr. Seltzer on behalf of the union accurately noted that

      9        unlike most Section 1113 motions, the debtors' Section 1113

     10        motion did not put emphasis on a target dollar concession in

     11        the aggregate that it believed the union needed to meet for

     12        the debtors to successfully reorganize.        Instead,

     13        Mr. Rayburn and Mr. Kramer focused on an EBIDTA margin that

     14        would enable the debtors to compete with their major

     15        competitors.

     16                   Initially, the debtors' view was that that margin

     17        needed to be in the 11 percent range.        That was subsequently

     18        reduced to the 10 percent range.       Interestingly, there was

     19        no real costing of the individual elements of the proposal

     20        that showed how that margin would be achieved in the

     21        debtors' proposal or in how the union's proposal was short

     22        of that margin.    On the other hand, and this was really the

     23        only testimony as to the margin that would be achieved by

     24        the IBT proposal, Mr. Wilson testified without being shaken

     25        or even challenged on cross-examination that if the union's

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      1        proposal were implemented across the board, that is, not

      2        only for the IBT but similar changes were made for the other

      3        debtors' unions, the debtors would have an approximate 9

      4        percent margin in respect of EBIDTA.

      5                   The union proposal when compared to the debtors'

      6        proposal on specific cost savings appears to the Court to be

      7        consistent with that analysis.      In that regard, what I mean

      8        is that the differences in terms of specific cost savings do

      9        not appear to be dramatic between the debtors' last proposal

     10        and the union's last proposal, although obviously, the

     11        union's last proposal has fewer or less dramatic cost

     12        reductions than the debtors.

     13                   In the absence of any evidence to the contrary, it

     14        appears to me that Mr. Wilson's testimony should be accepted

     15        and that the EBIDTA margin difference here when one

     16        normalizes the union's -- the IBT's proposal across all the

     17        debtors' unions and cost structure is that there is a one

     18        percent margin difference between the debtor and the union.

     19        I conclude based upon that analysis that in respect of the

     20        specific financial concessions that the debtors have asked

     21        of the union and the union has responded to the debtors on,

     22        first, that the union has turned down the company's proposal

     23        with regard to these concessions for good cause and

     24        secondly, that the company's proposal is not necessary for a

     25        reorganization, i.e. the one percent difference in margin

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      1        has not shown to me to be material for purposes of Section

      2        1113.

      3                   This means that both in respect of the pension

      4        plan proposal, for the reason -- the sole reason that I've

      5        identified, and in respect of the specific financial

      6        concessions aspect of the proposal I need to deny the

      7        company's motion.    I believe that if the company adopted the

      8        union's economic proposals and proposed that it would in

      9        fact assume the IBT's collective bargaining agreements and

     10        provide that it would not subsequently reject them under

     11        Section 1113 in this case.      And there was some mechanism

     12        that the debtors' ultimate plan would be consistent in terms

     13        of capital structure with the turnaround plan that Mr.

     14        Rayburn testified to from April 4th and finally that the

     15        debtors included new hires in their pension proposal that

     16        the debtors' proposal would in fact at that point meet the

     17        criteria of Section 1113.

     18                   Although, of course, each one of these

     19        determinations is guided by the particular facts at the

     20        particular time, so I would need to consider those facts.

     21        And this is a fast-moving case, as evidenced by the

     22        proposals provided by potential investors.

     23                   So as far as this motion is concerned and viewing

     24        the motion as a whole, I will deny the motion for the

     25        reasons that I have stated.      I would, however, be receptive

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      1        to a motion that makes a proposal along the lines that I've

      2        outlined.    And in particular, although I note that it would

      3        be painful for the specific MEPPs that the debtors must

      4        withdraw from, it is in my view necessary for the debtors to

      5        withdraw from those MEPPs, albeit that they would continue

      6        on the reduced funding level set forth in the union's

      7        proposal to fund pension benefits in a new and green pension

      8        plan.

      9                    I will note finally that there was quite credible

     10        testimony that if the debtors attempted to impose a

     11        collective bargaining agreement along the lines that I have

     12        described, the union work force has authorized their

     13        representatives to determine whether there should be a

     14        strike or not.     I'll say two things in respect of that.

     15                    First, the obvious point that Judge Bernstein made

     16        in Horsehead, it appears to me, consistent with my finding,

     17        that it would be necessary for the debtors to exit the

     18        troubled MEPPs; that the ultimate result of a strike

     19        wouldn't be materially different from staying in those MEPPs

     20        for the debtors.

     21                    Secondly and more importantly, in this case, the

     22        IBT's level of knowledge about the debtor, realism and

     23        sophistication was clear and commendable.         As I noted, it

     24        appears to me that the union has as good idea -- an idea

     25        about what is necessary for the debtors to reorganize,

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      1        except for the MEPP issue, as the debtors do.

      2                   I will note that Mr. Wilson testified that the

      3        issue of the MEPs should not cause a strike if dealt with in

      4        a way that is fair and reasonable.       It appears to me that

      5        the only way to deal with that issue is to follow a plan

      6        along the lines that the debtors have proposed, the cost

      7        savings for that plan being, however, the savings proposed

      8        by the union.

      9                   What I believe truly jeopardizes the debtors'

     10        reorganization here, the debtors' ability to raise the money

     11        necessary to make the changes that both the union and the

     12        debtors agree must be made will come from investors who I

     13        believe correctly would not realistically take the risk

     14        imposed by the union's May 15th structural proposal for

     15        dealing with the MEPs.     That proposal creates too much

     16        uncertainty for any entity willing to commit substantial

     17        amounts of capital and reputation and work to turn this

     18        company around.

     19                   So I'm going to ask Mr. Seltzer to submit an order

     20        consistent with my ruling.      I know that one or two courts

     21        outside of the Southern District have said that you all only

     22        go through this once.     I completely disagree with that.

     23        This is a very fact-specific inquiry based on the specific

     24        timing of the proposals.     It's one of the reasons that

     25        judges get frustrated because we know that much more is

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      1        going on behind the scenes, and the proposal made before the

      2        start of the hearing really isn't the last proposal.

      3                     So I'm perfectly prepared on short notice to

      4        consider an amended proposal.        I hope that's not necessary.

      5        I hope that the parties of interest here will reach

      6        agreement.     And it's perfectly fine with me if they reach an

      7        agreement that in certain ways differs from what I've said I

      8        think will work here because they know this company better

      9        than I do.     But on this record, those are my conclusions.

     10                     ALL:   Thank you, Your Honor.

     11                     THE COURT:    I also want to thank you all for

     12        streamlining the trial.       It saved the debtor a lot of money.

     13             (Whereupon the proceedings were concluded at 7:02 PM)

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      1                                      I N D E X

      2        Witness                      By                        Page      Line

      3        Jeffrey Parlato              by Hamilton               13        10

      4                                     by Freund                 14        11

      5

      6

      7                                   E X H I B I T S

      8        Debtor's:              Identification                  Page      Line

      9          1               Parlato's declaration                17        15

     10

     11                                    R U L I N G S

     12                                                               Page      Line

     13        Debtors' Motion and Debtors in                         59        10

     14        Possession to (A) Reject Certain

     15        Collective Bargaining Agreements

     16              Oakland and Seattle                              69        10

     17              All other CBAs                                   77        14

     18

     19        Debtors' Motion and Debtors in                         99        12

     20        Possession to (B) Modify Certain

     21        Retiree Benefit Obligations,

     22        Pursuant to Sections 1113 (c) and

     23        1114 (g) of the Bankruptcy Code

     24

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      1                                C E R T I F I C A T I O N

      2

                I, Sheila G. Orms, certify that the foregoing is a correct

      3         transcript from the official electronic sound recording of

      4         the proceedings in the above-entitled matter.

      5

      6         Dated:     May 16, 2012

      7

      8

      9          Signature of Approved Transcriber

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